Case 2:25-cv-00080-BWA-MBN Document1-9 Filed 01/09/25 Page 1 of 107

LOCMC Health ~SBO
P.O. Box 733679
Dailas, TX 75373-3679

P 504.401.9287

Pay your bill easily
on our Patient Portal

Guarantor Information: Guarantor ID:
Winston Bruce Boyd

LCMChealth.org/patientportal

Patient Information: cM ora sere +
Patient: Boyd, Winston Bruce Admission Date: 01/22/24 - -TQ4FA

Patient Account: Discharge Date: 01/23/24 Or visit
LCMChealth.org/paymybill

to pay as a guesi

Location of Service: Umcno Emergency Dept - Emergency Medicine

$2,958.00 $0.00 $0.00 $0.00

Hospital Charges

/22/2024 36100655 /|HC REPAIR SUPERFICIAL WOUND 12001 0490 $567.00

SCALP HAND FOOT GENITALIA 2.5CM
OR LESS

01/22/2024 45000507 (|HC ED VISIT, LVL 4 99284 | 0450 1 $1,676.00

01/23/2024 32000093 [HC XR FEMUR MINIMUM 2 VIEWS 73552 | 0320 1 $389.00

01/23/2024 32000095 (HC XR KNEE 3 VIEWS 73562 | 0320 1 $320.00

01/23/2024 6370001 jAMOXICILLIN-CLAVULANATE 875-125 {6370001} 0250 1 $3.00
MG TAB

01/23/2024 6370001 |IBUPROFEN 600 MG TAB 6370001) 0250 1 $3.00
Total Charges $2,958.00

You may qualify for financial assistance, if you do not have insurance, are underinsured, or if it would
be a financial hardship to pay all out-of-pocket expenses for services provided by LCMC Health
hospitals and providers. Our Financial Assistance Program provides free or discounted care to
patients having difficulty paying their medical bills if eligibility is met. Contact our Financial Counselors
at 504.702.3500 or go to LCMChealth.org/paymybill for more details.
Case 2:25-cv-00080-BWA-MBN Document1-9 Filed 01/09/25 Page 2 of 107

University Ss 2000 Canal St.
Medical Center New Orleans, LA 70112
New Orleans

LCOMC Health

CERTIFICATION OF MEDICAL RECORDS

DATE: 2/18/24
TO WHOM IT MAY CONCERN:

This is to certify that, without exception, this is a true and correct copy of the medical records at
the time of processing described in the attached request, subpoena, summons or court order.
As the duly authorized custodian of medical records of University Medical Center New Orleans, |
have the authority to certify these records.

PATIENT NAME: Winston Bruce Boyd
These records were prepared by the personnel of this facility, medical staff members, or person

acting under the control of either, in the ordinary course of this facility's business at or near the
time of the act, condition or event.

Copies of the original records were made by the personnel of MRO Corporation.

Gwen Doherty
HIM Supervisor
Case 2:25-cv-00080-BWA-MBN Document1-9 Filed 01/09/25 Page 3 of 107

University S 2000 Canal St.
Medical Center New Orleans, LA 70112
New Orleans

LOMC Health

CERTIFICATION OF ITEMIZED BILLING RECORDS

DATE: 2/18/24
TO WHOM IT MAY CONCERN:

This is to certify that, without exception, this is a true and correct copy of the itemized hospital
bills at the time of processing described in the attached request, subpoena, summons or court
order. As the duly authorized custodian of itemized bills of University Medical Center New
Orleans, | have the authority to certify these bills.

PATIENT NAME: Winston Bruce Boyd
These bills were prepared by the personnel of this facility, medical staff members, or person

acting under the control of either, in the ordinary course of this facility's business at or near the
time of the act, condition or event.

Copies of the original records were made by the personnel of MRO Corporation.

Tamiko Smith
MRO Field Representative
Case 2:25-cv-00080-BWA-MBN

LOMC Health &

CENTER - NO
2000 Canal St

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Document 1-9
UNIVERSITY MEDICAL

New Orleans LA 70112-3018

Filed 01/09/25 Page 4 of 107

Boyd, Winston Bruce
ES <<

e Ir : Je DECH :
01/23/2024 Appoiniment UNIVERSITY University Radiology —
MEDICAL Medical Center
CENTER-NO _ Radiology
Department
01/22/2024 - 01/23/2024 ED UNIVERSITY UMCNO Emergency Detiege, Pierre G.,
MEDICAL EMERGENCY Medicine MD
CENTER-NO DEPT

Description: Dog bite (Primary Dx)

Demographics

Name: Winston Bruce Boyd
Address: 3030 HAMILTON ST NEW ORLEANS LA 70118
Date of birth: Sex: Male

Ethnicity: No, not of Hispanic, Latino/a, or

Spanish origin
SSN:
Mobile:

Name
BOYD,ERICA

Active Coverages

TH
Subscriber: BOYD,WINSTON BRUCE

Care Team

Race: Black or African American

Home phone:

Subscriber 1D:

Gender identity: Male
Language: English

Work phone: i

atic

Spouse (Legal Guardian) Mobiles]

seecseratarenenesener meses estes wee

Effective from: 6/1/201
Guarantor: BOYD,WINSTON BRUCE

Not on file

Health Care Agerts esses onssesusnsnssnsnsnsnnsmsssnnssnas
There are no Health Care Agents on file.

Printed on 2/18/24 10:12 AM

Page 1
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@ UNIVERSITY MEDICAL Boyd, Winston Bruce
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2000 Canal St
New Orleans LA 70112-3018
/ = ient (continued)

Advance Care Planning (continued

Documents

Clinical date/time: 1/23/2024 0205
Status: Signed
Effective date/time: 1/23/2024 0205

University
Medical Center
New Orleans
LOMC Health

INFORMATION ABOUT ADVANCE DIRECTIVES OR LIVING WILLS

The law in the State of Louisiana states each person may decide about their own medical care..

That includes deciding about respirators, surgery, medications, or procedures when you, the

patient, have a terminal and irreversible condition. That means a condition that will not improve or
get better. This law states your wishes must be followed even if you are no longer able to make
decisions about your medical care. The way that you are able to do this is with A LIVING WILL or

a DURABLE POWER OF ATTORNEY FOR HEALTHCARE.

WHAT IS A LIVING WILL?

A Living Will in Louisiana is a legal document or paper which allows you, the patient, to decide
about the medical treatment you want if you have been diagnosed as having a terminal and
irreversible condition, or, you are in a coma and not able to express your opinion at the time. Ina
living will, you may state that life sustaining procedures be withheld or withdrawn and you be
allowed to die naturally. You may state you want pain medicine and other care to provide relief
from pain and unnecessary suffering.

WHAT IS A DURABLE POWER OF ATTORNEY FOR HEALTHCARE?

A Durable Power of Attorney for Healthcare in Louisiana is a legal document or paper which
allows you, the patient, to appoint someone known as an “agent” or “proxy” to make medical
decisions for you if a doctor later determines you can no longer make reasoned decisions or
communicate them. You can also appoint a backup agent or proxy to serve as a substitute in case
your first choice is not available when needed.

WHO MAY MAKE AN ADVANCED DIRECTIVE?
Any adult may, at any time, make a written living will or durable power of attorney for healthcare
which will tell his/her doctor to withhold or withdraw life-sustaining procedures, or will appoint
an agent or proxy to make healthcare decisions if he/she is diagnosed as having a terminal and
irreversible medical condition; or, is ina coma with no reasonable chance of recovery provided:
1. The written document has been signed by the patient in front of two witnesses who must
also sign the document; and
2. The witnesses are competent adults who are not related to the patient by blood or
marriage and who would not be entitled to any portion of the patient's estate.

An oral or nonverbal statement of the patient's wishes may also be made by an adult before two

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e UNIVERSITY MEDICAL Boyd, Winston Bruce
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2000 Canal St
New Orleans LA 701 12-3018

Advance Care Plannin nunued) _~ = oe == = oo =
witnesses (as stated above) or by any non-written means of communication. An oral or nonverbal
statement may only be made AFTER the patient has been diagnosed as having a terminal and
irreversible condition or is in a coma with.no reasonable chance of recovery.

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Case 2:25-cv-00080-BWA-MBN Document1-9 Filed 01/09/25 Page 7 of 107

¢ UNIVERSITY MEDICAL Boyd, Winston Bruce
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2000 Canal St

Advance Care Plannin i

YOU CAN MAKE A PSYCHIATRIC ADVANCED DIRECTIVE if you believe you could at some point be
involuntarily committed for psychiatric purposes for treatment. A psychiatric advanced directive,
like other living wills or durable powers of attorney for healthcare, may name a person who is
authorized to make decisions for you if you are legally determined to be incompetent to make
decisions on your own, or provide instructions about hospitalization and the use of medications,
therapies, and your wishes about the use of restraint and seclusion. The directive may also
designate who should be notified upon your admission to the hospital for psychiatric treatment,
and who should not be permitted to visit you.

NO ONE IS REQUIRED TO FILL OUT THESE DOCUMENTS, but you have the CHOICE to do so now
instead of leaving the decision to your family or physician in a time if crisis. The care you receive
in the hospital or while homebound and from your physician will not be changed should you
decide not to make a living will.

RESPONSIBILITY TO NOTIFY PHYSICIAN

It is your responsibility to notify your doctor you have made an advance directive (living will or
durable power of attorney for healthcare). However, if you become unable to communicate this to
your doctor, then any other person who knows about your advance directives may inform the
doctor of them.

WHO ELSE MAY MAKE A LIVING WILL?

Provided you have not already made a living will, Louisiana law gives the following people, in the
order listed, the right to make a living will on behalf of an adult patient:

1. The court-appointed guardian of the patient, if one has been appointed.

2. The patient's spouse, not legally separated.

3. The patient's adult children, as a class.

4. The patient's parents, as a class.

5. The patient's brothers and sisters, as a class.

6. The patient's other relatives, ascending or descending, as a class.

Unless the living will is made by the court appointed guardian or the spouse (not legally
separated) and there is more than one person within a class named above then the declaration
shall be made by all of that class available for consultation upon good faith efforts to secure
participation of all of that class. Also, two witnesses, as described above, must be present at the
time that the living will is made.

WHAT ABOUT A CHILD OR MINOR? If a minor (a child under eighteen [18] years of age) has been
diagnosed and certified as having a terminal and irreversible condition or as being in a coma with
no chance of recovery, the following persons may volunteer to make a living will on behalf of the
child.

1. The minor's spouse, if he/she is of legal age; or

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UNIVERSITY MEDICAL Boyd, Winston Bruce
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2000 Canal St
3018

2. if there is no spouse, or if the spouse is not available or unable to act, or if the spouse is
also a minor, then either the parents or guardian of the minor.
The living will must be signed by the person in front of two witnesses, as described above. The
witnesses must also sign the papers. However, the person named above may not sign if he/she
knows that the minor does not want a living will, or the parents or spouse of legal age do not
agree on the living will.

DOES AN ADVANCED DIRECTIVE AFFECT INSURANCE? No. Making a living will or durable power
of attorney for healthcare does not affect or change any life insurance policy which you may have.

CAN AN ADVANCED DIRECTIVE BE CHANGED?

Yes. Under the law, a living will or durable power of attorney for healthcare can be stopped at
any time by the person who made it without regard to his/her mental state by canceling,
burning, tearing, crossing out or otherwise destroying it. The person who made the document may
also tell someone else to destroy it. He/she may write a letter (signed and dated) canceling the
advanced directive. He/she may make an oral or nonverbal expression canceling the advanced
directive.

Cancellation of the advanced directive by any of the means above goes into effect when the
doctor is informed.

NOTE: additional information and assistance before reaching a decision, we suggest you
discuss the Living Will with your doctor, lawyer, pastor, and family members. After you are
admitted to the hospital, any of the staff will be happy to put you in touch with a Social
Worker for additional information.

Hf. 2.9

Signature captured with Topaz by Winston B. Boyd at 1/23/2024 02:05 AM January 23, 2024
Patient/ Guardian Signature: Date MM/DD/YY Time
00:00 AM/PM

interpreter Used? No
information about the Interpreter (Name/Service/Company/Cyracom #/etc.): Not Applicable

Printed Name of Hospital Representative: HARRISON, ELLA

ADV DIR ACKNOWLEDGEMENT
LC-1003| (06/19, 08/23) Revised *PL100*

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e UNIVERSITY MEDICAL Boyd, Winston Bruce
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2000 Canal St
New Orleans LA 70112-3018

Advance Care Planning (continued

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LCMC Health @

UNIVERSITY MEDICAL Boyd, Winston Bruce
CENTER -NO ES s »

2000 Canal St
New Orleans LA 701 12-3018

Documents

University
Medical Center
New Orleans
LOMC Health

Acknowledgement of Receipt of Notice of Privacy Practices
| acknowledge that | have received a copy of the Notice of Privacy Practices at UNIVERSITY
MEDICAL CENTER - NO.

Signature captured with Topaz by Winston B. Boyd at 1/23/2024 02:06 AM
Patient Signature

interpreter Used? No
Information about the Interpreter (Name/Service/Company/#/etc.): Not Applicable

Health Care Provider’s Documentation of
Good Faith Effort to Obtain Acknowledgement of Receipt

If the acknowledgement could not be obtained prior to the date of first service to the patient, or, in
an emergency situation, as soon as reasonably practicable after the emergency has resolved,
describe below the efforts. made to obtain the written Acknowledgement and the reasons why the
written Acknowledgement could not be obtained. If the patient refused to provide the written
Acknowledgement, please so state.

This section must be completed in writing and scanned into the Electronic Medical

Record.
Document in writing the following:

Efforts to obtain written Acknowledgement and reasons written Acknowledgement could not be
obtained.

Patient Contacts _

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Case 2:25-cv-00080-BWA-MBN bocument 1-9 SOs! 5 _ Page 11 of 107

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2000 Canal St
New Orleans LA 7011 2-3018

t (continued

Patient Contacts (continued) __

BOYD.ERICA ~~ Spouse

Vitals _ _
ecorded

Vital Signs - Last Rec Most recent update: 1/22/2024 1

a ss spammers — ssieeeamrcccnsces a ss cs
139/85 84 97.9 °F (36.6 °C) 18 6' (1.829 m)

Wt SpO2 BMI
200 Ib (90.7 kg) 99% 27.12 kg/m?

Implants (as-of Current Date) _

No documentation.

Immunizations (as-of Current Date

No documentation.

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UNIVERSITY MEDICAL Boyd, Winston Bruce
CENTER - NO _ Sex: M
2000 Canal St sit date:

New Orleans LA 70112- 3018

LCMC Health’

Visit Information _

Appointment Information _ epee

LCMC XR FEMUR 2 VW LEFT OO ~~ Completed
1/23/2024 12:15 AM

12:15 AM LCMC UMC XR ED 1 UMCNO RADIOLOGY DEPT 45 min

Referral Provider: DETIEGE, PIERRE G. Arrival Time: 12:13 AM
Ene Form Number: 16291951

History
Made On: 1/23/2024 12:13 AM By: _ Ericka Hatsell, RT RIS
Checked In: 1/23/2024 12:13 AM By. Ericka Hatsell, RT ES
Lnk Rea: 1/23/2024 12:14AM By: Mallory Kessling, RT Vriy
Orders
EOD Status: 1/27/2024 10:01 PM By: Cadence, Batch Job ES

Visit Account Information

Hospital Account

ACC . cats | ry SOV f
Boyd, Winston Bruce Emergency Billed AETNA BETTER
HEALTH - AETNA
BETTER HEALTH

Guarantor Account (for Hospital Account #56630051)

Personal/Family

Boyd, Winston Bruce

PO BOX 982962
EL PASO, TX 79998-2962

Patient as-of Visit

“Problems n never r marked as 3 reviewed
No problems documented.

mV rie csr

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LCMC Health

CENTER - NO
2000 Canal St

Received from Ochsner Health System and Its Subsidiaries and Affiliates on 01/22/2024 2316

Generalized anxiety disorder — 07/20/2022 _ — Active Active
Sickle cell trait _ 07/20/2022 — _— Active Active
Last Assessment & Plan:

Formatting of this note might be different from the original.

F/U OP PRN

Encounter for medical screening — 07/21/2022 10/24/2022 — Resolved _
examination

Elevated BP without diagnosis of — 07/21/2022 — —_ Active Active

hypertension
Last Assessment & Plan:
Formatting of this note might be different from the original.
PRN clonidine
Monitor and F/U PRN
_F/U with PCP after discharge from RPBH

Violent behavior — 07/21/2022 —_— _— Active Active
Received from Surescripts Record Locator Gateway on 01/22/2024 2317

_Diabetes mellitus screening — 08/13/2019 — — Active Active

Lipid screening — 08/13/2019 — — Active Active

Tobacco user — 08/13/2019 — — Active Active

trritability and anger — 12/31/2018 — — Active Active

Screening for cardiovascular — 12/31/2018 08/13/2019 —_ Resolved Completed

system disease

Adult health examination _ 12/31/2018 08/13/2019 — Resolved Completed

(procedure)

Family history of prostate cancer. — 12/31/2018 — — Active Active

Problem, abnormal examination — 12/31/2018 08/13/2019 — Resolved Completed

Allergies as of 1/23/2024

Allergies last reviewed by Frank Schiavi Ill, RN on 1/22/2024 2321 - Review Complete
No Known Allergies

Medical History : a 4. ea
Medical last reviewed by Frank Schiavii Ill, RN o on 7 1/22/2024

Past Medical History

) Major depressive order, single episode — — Provider

Surgical History as of 1/23/2024

Surgical last reviewed by Frank Schiavi Ill, RN on 1/22/2024
None

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UNIVERSITY MEDICAL Boyd, Winston Bruce
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2000 Canal St sit date:

New Orleans LA 701 112- -3018

Patient as-of Visit | continued) | __

Substance & Sexuality History as of 1/23/2024

Tobacco Use as of 1/23/2024
Tobacco Use last reviewed by Frank Schiavi Ill, RN on 1/22/2024

Not Curent : 2 IAKSIVVGEK aeons. es

Drug Use as of 232028

Not Currently — _ ” _ Provider

Sexual Activity as Of 1/23/2024 sss sess ss asses

Sexual Activity last reviewed by Frank Schiavi il, RN or on 7 1/22/2024
None

Occupational last reviewed by F Frank Schiavi Il, RN on 1/22/2024
None

Socioeconomic as of 1/23/2024

Socioeconomic last reviewed by Frank Schiavi III, RN on 1/22/2024

Single — — — — English No, not o jack or —_
Hispanic, African
Latino/a, or American
Spanish
origin

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UNIVERSITY MEDICAL Boyd, Winston Bruce
naar CENTER - NO Sex: M
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New Orleans LA 70112-3048
iver

Patient as-of Visit. ‘continued

Social Documentation History as of 1/23/2024

Social Documentation last reviewed by Frank Schiavi Ill, RN on 1/22/2024
None

‘ iT =

lA BETTER None " ~ None
BOYD,WINSTON HEALTH [3501]
BRUCE
Admissi

Arrival Date/Time: 01/22/2024 0013 Admit Date/Time: 01/22/2024 2315 IP Adm. Date/Time:
Admission Type: Emergency Point of Origin: Self Referral Admit Category:
Means of Arrival: Ambulance Primary Service: Emergency Secondary Service:
Medicine
Transfer Source: Service Area: Unit:
Admit Provider: LCMC UMC XRED Attending Provider: Pierre G. Detiege, Referring Provider: Pierre G. Detiege,
1 MD MD
Information

01/23/2024 0254 Home Or Self Care one None University M
Center Radiology
Department

tion
fied

| S71.102A Unspeci open wound, left thigh, initial encounter

$71.112A without foreign body, left thigh, initial encounter
[Principal]

W54.0XXA Bitten by dog, initial encounter

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UNIVERSITY MEDICAL Boyd, Winston Bruce
CENTER - NO Es 5
2000 Canal St ISIE date:

LCMC Health

Documents

effective from 1/23/2024) - E-signed _

Hospital Consent for Treatment - Electronic signature on 1/23/2024 2:08 AM (

Clinical date/time: 1/23/2024 0208 Description: —
Status: Signed
Effective date/time: 1/23/2024 0208

University ¢
Medical Center

New Orleans
LOMO Hecith

Financial Consent for Examination and Treatment

IMPORTANT: DO NOT SIGN THIS FORM WITHOUT READING AND UNDERSTANDING ITS CONTENTS.

4. Consent to. Medical Treatment/Services and Surgical Procedures

i hereby authorize Provider, the provider(s) treating me, and whomever they ray: select as their assistants, to provide reasonable and
necessary medical treatment to.me,, including but not limited to, emergency care, administration of approved drugs, nursing.care, and radiology
and pathology services.. | understand itis the responsibility of my physician or surgeon. to. obtain my Informed consent, when required, for.
medical or surgical treatment, spécial diagnostic or therapeutic procedures, or hospital services rendered under the general and special
instructions of the physician. | understand that in many instances the physicians and surgeons furnishing services to me are independent
contractors and are not employees or agents of Provider. If! am incapacitated and unable to provide my consent and authorization as
discussed above, such consent and authorization may be given by any of those persons who are authorized to consent to surgical or medical
treatmenton my behalf pursuant to La, R. S. 40:1299.53.

2. Specimens
| authorize and consent fo the preservation, examination, testing, retention, use, including, without limitation, the use for scientific, diagnostic,

therapeutic or educational purposes,.or disposal, by Provider, at its discretion, of any specimens, tissues, materials, or substances which may be:
réfrioved during a diagnostic procedure, therapeutic intervention or medical treatment.

3. Photography

| consent to photographs, videotapes, digifal or other images that may be recorded to-document my care. | understand that these images may be
used for treatment, health caré-operations, scientific, educational, research, patient identification, or sécutity purposes. | understand that these
images will be stored in a secure manner and will only be used for reasons other than those outlined above upon my written authorization, or as
otherwise permitted by law.

4, Telemedicine
i consenitto having some or all of my medical services provided by video or other interactive. telecommunication technology as allowed by iaw. |
understand that | may decline to receive medical services. via. telemedicine or withdraw from such care at any time.

5. Education

| have been informed and understand that Provider is a teaching institution and the procedures perfarmed may require observation, cooperation
and services of multiple health care-providers. | authorize and understand that my care may be provided by student nurses, technicians,
therapists, interns, residerits, fellows and other providers and observers, which are supervised by qualified faculty and/or personnel, in
accordance with policies.of the Provider. | also consent to the presence of manufacturer's representative(s) during certain procedure(s) to
observe and provide technical consultatidn'to the physician(s) at the discretion and approval of the physician(s) and Provider.

6. Drugs
Unless my provider specifies otherwise, | agree and consent to Provider dispensing chemically identical or therapeutically comparable ("generic”)
drugs from a drug list approved by the Provicer’s Medical Staff, as part of its formulary system.

7. Devices
i consent to disposal of explanted medical device unless | specifically request it te be retained prior to procedure.

8. No Guarantees
| acknowledge that the practice of medicine is not an exact science and that NO GUARANTEES OR ASSURANCES HAVE BEEN MADE TO
ME conceming the outcome and/or result of any Medical Treatment/Services.

9.: Bleod:

| understand that should any hospital or emergency medical personnel, physician, or other person(s) be exposed or repart an exposure to my
bload’or body fluids, my bload will be tested. for blood borne infections including, without limitation, Hepatitis B and C as well as: HIV/AIDS. 1
understand.that | can decline HIV testing if it is for routine screening. | understand that state law requires Provider and/or physician to report
certain infectious diseases.including sexually transmitted diseases to the state Department of Health,

10. Waiver of Liability for Loss of Personal Property
Provider encourages patients and families NOT to store money and valuables at Provider facilities; these items should be left at home-or with
family members or other caregivers. Some Provider facilities have designated secure areas for the safekeeping of money and valuables
(including but not limited to, money, jewelry, documents, fur garments, dentures, eyeglasses, hearing aids, prosthetics, or other personal
property). Provider will not be liable for the loss of or damage. to-any personal property not formally deposited in a designated secure area.

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UNIVERSITY MEDICAL Boyd, Winston Bruce
PORAP™ Lim pc lacbe. CENTER - NO Sex: M
LOMC Health @)  senterne a <

New Orleans LA 70112-3018

11. Assignment of Benefi
Thereby assign and authorize, whether | sign as agent or as Patient, direct payment to Provider and/or to any hospital.based physician of all
insurance and health plan benefits, including, but not limited to, federal healthcare program benefits, otherwise payable to or on behalf of me-for this
hospitalization or for these outpatient services, including emergency services if rendered. |t is understood by me-that | am financially responsible to
Provider for charges nat covered by this assignment.

12. Authorization for Healthcare Related Calis, Texts, and E-mail

| authorize Provider, its employees, agents, representatives and/or designees to contact me using prerecorded/artificial voice messages and/or
automatic dialing service: at-any telephone number (including a wireless telephone) that | disclose to Provider. This consent and authorization will
apply to text messages sent to the wireless numbers | disclose fo Provider as well as emails using any email address. that | provide to. Provider.

Lagree that by providing services to myself (or others | may be financially responsible, including but not limited to my dependeni(s), “We", (which, for
purposes of this CONSENT FORM at UNIVERSITY MEDICAL CENTER - NO; “We” or “Us” includes any third party and/or service partner we enlist to-
service your account or te collect any amounts you may owe) may contact you, or anyone on your behalf, by telephone at any telephone number
associated with your account, including wireless telephone numbers, which could result in charges.to-you. We may also contact you by sending text
messages fo-any number you provide or We obtain or emails using any email address you provide or We obtain. Methods of contact may include using
pre-recorded/aitificial voice messages and/or use of an automatic dialing device, as applicable. Telephone calls to and from Us may be monitored and
recorded. You also agree and understand We may use vender partners.in servicing your account. Any information available or obtained by Us may be
used. by Us and provided to our vendor pariners for the limited purpose of servicing and/or collection.

13. Authorization to Release information
thereby authorize Provider to obtain my medical information from other health care providers and suppliers as needed for my.care and
treatment. |: authorize Providet-to disclose, for review and/or copying, any of my medical information compiled during my admission as may be
requested by my insurance company (private or governmental, i.e., Medicare or Medicaid), or other financially liable third party and/or their
designated agent(s), for my benefit determinations, payment for services provided to me, and determination of the appropriateness of my
admission or continued admission to,.and length of stay at Provider location. EXCEPT AS.| MAY SPECIFICALLY DIRECT OTHERWISE, | further
authorize’ Provider to disclose my medical information to persons participating in my care. | understand that some of these providers and
suppliers may be independent persons .or entities that are involved in my medical care. { understand that State and Federal regulations may also
require Provider to report information about me for public health or safety purpases including, but not limited te, reporting to immunization
registries. if |am.an LCMC Health. employee or contractor, and am injured of exposed while at work and receive treatment, | authorize LCMC.
Health Employee Health to access my medical record for follow-up caré and related purposes.

{further understand that the Provider belongs, directly or indirectly, to the. Partnership for Access to Total Health Information Exchange (PATH HIE)
which is also known as the Greater New: Orleans: Health Information Exchange (GNOHIE).. PATH HIE allows other providers to.see your health records
including your health history, the medicines you take, test results, surgery reports, hospital discharge notes, and other heaith information. The sharing
of this information saves time and helps providers give you. better care. If you do not want the PATH HIE to share your records, you can “OPT OUT” of
the PATH HIE at anytime by calling 504-301-9835 or by visiting the website at httns://gnohie.cra/contact-main/patient-opt-out- contaci-form/ and
élicking on.“FAQs:” Your records for treatrient, payment, afd operations. will be. shared until GNOHIE receives your “opt out’ directive. | further
understand that the Provider may participate in secure information exchanges designed to. promote efficient, high quality:care. These exchanges allow
other providers fo see: your health records including your health history, the medicines you. take, test results, surgery reports, hospital discharge notes,
and other health information. Ifyou do not want fe share your records with these exchanges, you can “opt out’ of at anytime by sending a completed
anid signed Opt-Out Form to the appropriate facility's Compliance Department or by contacting the LCMC HIM Department at 1(844} 324-6205 for
assistance in submitting the Opt-Out Forin. Ifyou opt out of these exchanges, you will be excluded from all exchanges that Provider participates in.

414. Financial Agreement

hereby obligate. myself to pay Provider for all care, services, and treatment | receive, according to Provider's regular rates and fee schedules. iff
am. covered by a health plan or Insurance policy, | agree to provide current and accurate information prior to-or at the time of admission/
registration. | certify that all information that | have provided or shared with.the Provider is true and accurate and that | haye complied with all
insurance: company requirements for referrals, pre-authorizations, and family coverage to avoid payment denial. | understand that if | have failed to
comply with these requirements, | will be responsible for the bill. if | am eligible to receive benefits under a health care. service plan with which
Provider has contracted, | may be required to pay for some services pursuant to the plan’s contract. f | prefer a private room during an inpatient
stay, lunderstand that | may be responsible for its cost. fmy health care plan determines Provider's sérvices tome are not medically necessary, |
authorize Provider fo. represent me in any review of the determination made by or on. behalf of my health care plan. {f non-insurance payments
iiade on my account exceed the tofal amount due, including without limitation. to any late charge, Provider is authorized to. apply that excess-to
any pre-existing account for prior medical services furnished. In the event, my. account becomes delinquent and is referred to an attorney or a
collection agericy, | will be-expected to pay attomey fees, court costs, and collection experises. | understand that | am responsible for any non
~covered services, deductibles, and co-payments. All delinquent accounts shall bear interest-at the maximum rate allowed bylaw. / understand
that | will receive bills both from Provider and any independent physicians or other practitioners involved in my care.

i understand that this General Consent for Examination and Treatment will remain in effect.and apply to all treatment or services |
receive unless { revoke it, in writing, except to the extent that Provider has already taken. action in reliance therein. | also understand
that:| may be asked to provide.informed consent for specific procedures, treatments, or services rendered by Provider, a physician,
or other healthcare providers affiliated with Provider and that such informed consent will include, but is nat limited:to, the benefits
and risks associated with a specific procedure, treatment, or service. Such informed consent will be presented to me in a separate
document or electronic: medium and will be made part of my medical record.

FINANCIAL RESPONSIBILITY BY PERSON OTHER THAN THE PATIENT OR PATIENT'S LEGAL REPRESENTATIVE

Lagree to accept financial responsibility for'services rendered ta the Patient and to unconditionally accept the terms of the Financial Agreement

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Case 2:25-Cv-000 O- BWA MBN. pPacument 1-9 Bolg Wied 291, 2 ce Page 18 of 107
1 at. CENTER - NO Sex: M
LCMC Health 2000 Canal St sit date:
New Orleans LA 701 12-3018
nt in University Medical

and Assignment of Benefits set forth above.

PATIENT CERTIFICATION
| have-read, understood and fully agree to each of the above statements and have been provided the opportunity to ask questions regarding such
statements. 1. sign below as my free and voluntary act. { also acknowledge that | have been offered information on the following subjects: Patient
Righis and Responsibilities, Advance Directives, Notice of Privacy Practices, and Patient Billing. | also acknowledge that | have the right to receive.a
copy of this General Consent form upon my request.

Signature of Responsible Party: | ‘Signature captwed with Tapaz by Winston 8. Boyd at 1/23/2024 02:08 AM

if other than Patient, indicate relationship:

(if signing via MyChart):- Relation to Patient: |

Reason Patient is unable to sign (if applicable):

(if signing via MyChart) - Reason unabie to sign : { ee

Hospital Representative: HARRISON, ELLA

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UNIVERSITY MEDICAL Boyd, Winston Bruce
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New Orleans LA 70112-3018

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UNIVERSITY MEDICAL Boyd, Winston Bruce
2000 Canal St m: ' ;

New Orleans LA 70112-3018
- eis s ic

Visit Information

01/22/2024 2325 IP Adm. Date/Time:

" Arriva Date/Time: Admit Date/T ime:
Admission Type: Emergency Point of Origin: Self Referral Admit Category:
Means of Arrival: Ambulance Primary Service: Emergency Secondary Service: N/A
Medicine
Transfer Source: Service Area: LCMC SERVICE Unit: UMCNO
AREA EMERGENCY
DEPT
Admit Provider: Attending Provider: Pierre G. Detiege, Referring Provider:
MD
ED Disposition
ED Disposition Condition User Date/Time Comment
Discharge Stable Joshua Zaky Tue Jan 23, Condition at discharge: Stable
Wahba, MD 2024 2:31 AM
Discharge Information
Date/Time: 01/23/2024 0254 Disposition: Home Or Self Care Destination: —
Provider: Pierre G. Detiege, MD Unit: UMCNO EMERGENCY DEPT

f eciaities: y Inf ith

UMCNO Emergency Go to As needed, if 2000 Canal St Report to
EMERGENCY Medicine symptoms worsen New Orleans emergency room
DEPT Louisiana 70112- registration.

3018

504-702-4003
University Medical Primary Care Schedule an For suture removal 2003 Tulane Ave UMCNO Primary
Center Primary Care appointment as Suite B Care Center, Suite B
Clinic soon as possible for New Orleans of the Clinic (Annex)

a visit in 2 weeks Louisiana 70112-
3018

504-962-6120 annem
Please report to
University Medical
Center New
Orleans. The main
patient entrances
are on S. Galvez
Street and Tulane
Avenue. Free
patient parking is
available in our
parking garage at
2001 Tulane
Avenue. UMCNO
Primary Care Center
is located on the first
floor, street level, of
the UMCNO parking
garage at the corner
of Tulane Avenue
and S Prieur Street.
Swipe your valid
driver's license or
state-issued ID card
at the kiosk. When
called, check in with
the Patient Access
Registrar.

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. UNIVERSITY MEDICAL Boyd, Winston Bruce
LOMC Health @ SENter.no Se s"

New Orleans LA 701 12- 3018

Visit information | continued _

Reason for Visit

Chief Complaint. Schiavi Ill, RN or

* Animal Bite

Visit Diaqnosis last edited by Paul Alexander Ramirez, MD on 1/23/2024 0025]

Dog bite (primary) Yes

Visit Account Information _

Boyd, Winston Bruce ” 56630051 Emergency Billed AETNA BETTER
HEALTH - AETNA
BETTER HEALTH

Guarantor Account (for Hospital Account #56630051)

LCMCSA _ Yes séPersonal/Family _

PO BOX 982962
EL PASO, TX 79998-2962

Treatment Team

Emergency 01/23/24 0007 01/23/34 0254

“Pierre G. — Attending
Detiege, MD Medicine

* Joshua Zaky Emergency Resident Emergency 01/23/24 0139 —
Wahba, MD Medicine Medicine

*Paul Alexander — Resident Emergency 01/23/24 0009 —
Ramirez, MD Medicine

ED Arrival a at 412212024 2315

Unit: UMCNO EMERGENCY DEPT

Unit UMCNO- EMER NC DEPT Room: EMS Triage
Patient class: Emergency Service: Emergency Medicine

ED Roomed at 1/22/2024 2325 ccecswraymse

Unit: UMCNO EMERGENCY DEPT Room: EMS Triage

~ Bed: EMS Triage

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UNIVERSITY MEDICAL Boyd, Winston Bruce
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New Orleans LA 70112- 3018 __

Patient class: Emergency ” ) Service: Emergency Medicine

Transfer In at 1123/2024 0437 oo ososrssssnnsonarninnionnnessmmemsescssuss

Unit: UMCNO EMERGENCY DEPT Room: 2501
Patient class: Emergency Service: Emergency Medicine

: — —— =A ERGENGY DEE? coe — a sss aa —
Patient class: Emergency Service: Emergency Medicine

Discharge at 1/23/2024 0254

Unit: UMCNO EMERGENCY DEPT Room: 2501 ~ Bed: 2501
Patient class: Emergency Service: Emergency Medicine

Unit: UMCNO EMERGENCY DEPT Room: 2501
Patient class: Emergency Service: Emergency Medicine

Bed: 2501

Current N Medications

Medication List

None

Discharge Medication List

amoxicillin-clavulanate (AUGMENTIN) 875-125 mg per tablet.
Instructions: Take 1 tablet by mouth 2 (two) times daily for 10 days

Authorized by: Joshua Zaky Wahba, MD Ordered on: 1/23/2024
Start date: 1/23/2024 End date: 2/2/2024
Quantity: 20 tablet Refill: No refills remaining

“Instructions: Take 1 tablet by mouth every 6 (six) hours as needed (For pain) for up | to 7 days

Authorized by: Joshua Zaky Wahba, MD Ordered on: 1/23/2024
Start date: 1/23/2024 End date: 1/30/2024
Quantity: 28 tablet Refill: No refills remaining

None

Vitals

01/22/24 2317 97.9 °F (36.6 °C) 84 18 139/85 99 % 200 Ib (90.7 kg)

Patient as-of Visit

Problem List as of. 4/23/202 os

Problems never marked as reviewed
No problems documented.

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LOMC Health

UNIVERSITY MEDICAL Boyd, Winston Bruce
CENTER - NO Sex: M
2000 Canal St m: ; :

New Orleans LA A L012 -3018

Patient as-of Visit continued

Documentation from Outside Organizations - Unverified

Received from Ochsner Health System and Its Subsidiaries and Affiliates on 01/22/2024 2316

Generalized anxiety disorder — 07/20/2022 — — Active Active
Sickle cell trait —_— 07/20/2022 _— —_ Active Active
Last Assessment & Plan:

Formatting of this note might be different from the original.

F/U OP PRN

Encounter for medical screening — 07/21/2022 10/24/2022 — Resolved _
examination

Elevated BP without diagnosis of — 07/21/2022 — — Active Active

hypertension

Last Assessment & Plan:

Formatting of this note might be different from the original.
PRN clonidine

Monitor and F/U PRN

F/U with PCP after discharge from RPBH

Violent behavior _— 07/21/2022 — —_ Active Active
Received from Surescripts Record Locator Gateway on 01/22/2024 2317
Diabetes mellitus screening — 08/13/2019 — —_ Active Active
Lipid screening — 08/13/2019 — — Active Active
Tobacco user — 08/13/2019 — — Active Active
Irritability and anger — 12/31/2018 —_ — Active Active
Screening for cardiovascular — 12/31/2018 08/13/2019 _ Resolved Completed
system disease :
Adult health examination _ 12/31/2018 08/13/2019 _— Resolved Completed
(procedure)
_Family history of prostate cancer, — 12/31/2018 — — Active Active
Problem, abnormal examination — 12/31/2018 08/13/2019 — Resolved Completed

Allergies last reviewed by Frank Schiav Ill, RN on 1/22/2024 2321 - Review Complete
No Known Allergies

Immunizations

No documentation.

Major depressive disorder, single episode _ _ ~ ” Provider

Surgical History as of 1/23/2024

Surgical last reviewed by Frank Schiavi Ill, RN on 1/22/2024
None

Family History

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e ‘ UNIVERSITY MEDICAL Boyd, Winston Bruce
CENTER - NO Sex: M
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New Orleans LA 701 12-3018

Provider

Alcohol Use as of 1/23/2024
Alcohol Use last reviewed by Frank Schiavi Ill, RN on 1/22/2024

Not Currently —_— _ Provider

Drug Use as of 1/23/2024
Drug Use last reviewed by Frank Schiavi Ill, RN on 1/22/2024

oO : Currently ~ —_ — _ Provider

Sexual ivity as of 1/23/2024

Sexual Activity last reviewed by Frank Schiavi Ill, RN on 4122/2024
None

Socioeconomic History as of 1/23/2024

s of 1/23/2024

Occupational as Of 1/23/2024 oo esrsnsrmsmss

Occupational last reviewed by Frank! Schiavi Ill, RN on 1/22/2024 OO
None

Single — ~~ — — English  No,notof Blackor  —
Hispanic, African
Latino/a, or American

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(NNERSITY MED Boyd, Winston Bruce
ji, te i . : r CENTER - NO Sex: M
LOMC Health @) ENE: Ss

ew O

mo
BS
3D

Patient as-of Visit (continued) _

Spanish ~
origin

Documentation History as of 1/23/2024...

Social Documentation last reviewed by Frank Schiavi lil, RN on 4/22/2024
None

Medication List

“Instructions: Take 1 1 tablet by mouth 2 two) t times daily for’ 10 days

Authorized by: Joshua Zaky Wahba, MD Ordered on: 1/23/2024
Start date: 1/23/2024 End date: 2/2/2024
Quantity: 20 tablet Refill: No refills remaining

instructions: Take 1 tablet by mouth every 6 (six) hours as needed (For pain) fort up ipto7 7 days

Authorized by: Joshua Zaky Wahba, MD Ordered on: 1/23/2024

Start date: 1/23/2024 End date: 1/30/2024

Quantity: 28 tablet Refill: No refills remaining
Stopped ir Visit ssp

None

ED Provider Note

a Paul Alexander F Ramirez, MD Service: Emergency Medicine ~ Author Type: Resident
Filed: 1/23/2024 12:29 AM Date of Service: 1/23/2024 12:24 AM Creation Time: 1/23/2024 12:24 AM
Status: Attested Editor: Paul Alexander Ramirez, MD (Resident)

Cosigner: Plerre G. Detiege, MD at 1/24/2024 11:51 PM

Patient seen n and examined by me. Clinical fine indings discussed with resident t team and documentation reviewed.
| have reviewed results. | was actively involved in medical decision making, present for key portions of this case
and treatment was provided under my supervision.

Pierre Detiege M.D. 11:51 PM 1/24/24

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UNIVERSITY MEDICAL Boyd, Winston Bruce

2000 Canal St m: :

New Orleans LA 70112- 3018

LCMC Health

HPI
39 y.o. male that presents to the ED complaining of dog bite to the thigh. Intact motor and sensation. No other

trauma.

Review of Systems

Constitutional: Negative for fever.

HENT:Negative for trouble speaking or swallowing.
Respiratory: Negative for shortness of breath.
Cardiovascular: Negative for chest pain.

Gastrointestinal: Negative for nausea. Negative for vomiting.
Musculoskeletal: Negative for extremity pain

Skin: Negative for rash.

Neurological: Negative for headache.

No Known Allergies

Social History
o. Marital status: Single
Spouse name: Not on file
¢ Number of children: Not on file
¢ Years of education: Not on file

. seri cunen education level: Not on file

- Smoking status: Some Days

Types: Cigars
Passive exposure: Never

eee cohol use ee Not Currently
* Drug use: Not Currently
s. Sexual activity:

Not on file
Social History al
* Not on file

Social Determinants of Health

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e UNIVERSITY MEDICAL Boyd, Winston Bruce
‘ a 4 : CENTER - NO Sex: M
LCMC Health @)  ceNeR.% EE

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ED Provider Note continued

History reviewed. No pertinent t family history. OO

Past Medical History:

. ‘Major depressive disorder, single episode

History reviewed. No pertinent surgical history.

Patient's Medications
No medications on file

Physical Examination
ED Triage Vitals [01/22/24 2317]

Enc Vitals Group
BP 139/85
Pulse 84
Resp 18
Temp 97.9 °F (36.6 °C)
Temp src
SpO02 99%
Weight - Scale 90.7 kg (200 Ib)
Height 1.829 m (6’)
Head Circumference
Peak Flow
Pain Score 7
Pain Loc
Pain Edu?
Excl. in GC?
itals

139/85

Pulse: 84

Resp: 18

Temp: 97.9 °F (36.6 °C)
SpO2: 99%

Weight: 90.7 kg (200 Ib)
Height: 1.829 m (6')

Nursing note and vitals reviewed.

Constitutional: Appears well-developed and well-nourished. Not diaphoretic. Cooperative. Non-toxic appearance.
Head: Normocephalic and atraumatic.

Cardiovascular: Normal rate

Pulmonary/Chest: Effort normal. No accessory muscle usage. No respiratory distress.

Musculoskeletal: No extremity deformity. Multiple puncture wounds to the left thigh. 2+ distal pulse. Good sensation
and motor distally.

Neurological: Alert and oriented to person, place, and time. Moves all 4 extremities. No obvious facial asymmetry.
GCS eye subscore is 4. GCS verbal subscore is 5. GCS motor subscore is 6.

Skin: No rash noted.

Psychiatric: Normal mood and affect. Speech is normal and behavior is normal.

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4 UNIVERSITY MEDICAL Boyd, Winston Bruce
LOMCHealth®@? Sv. a °°

New Orleans LA 701 12-301 8

ED Provider Note | continued

MDM and ED Course: Afebrile. Non toxic. Hemodynamically stable. No emergent airway issues. Does not meet
emergent STEMI, Stroke or Trauma Activation Criteria. As the Sort/Triage provider, | performed an initial assessment
and ordered appropriate labs and imaging studies, if any, to facilitate Winston Bruce Boyd's care in the ED. The ED is
currently on saturation with limited room availability. Once a room is available, care will be completed by the core ED
team.

Clinical Impression: No diagnosis found.

Paul Ramirez PGY4

LSU Emergency Medicine
12:24 AM

01/23/24

Paul Alexander Ramirez, MD
Resident
01/23/24 0029

Electronically signed by Paul Alexander Ramirez, MD at 1/23/2024 12:29 AM
Electronically signed by Pierre G. Detiege, MD at 1/24/2024 11:51 PM

ED Provider Notes by Joshua Zaky Wahba, MD at 1/23/2024 0944 sissy

Service: Emergency Medicine Author Type: Resident
Filed: 1/23/2024 3:01 AM Date of Service: 1/23/2024 1:44 AM Creation Time: 1/23/2024 1:44AM
Status: Attested Editor: Joshua Zaky Wahba, MD (Resident)
Cosigner: Victor Edgar Tuckler, MD at 1/28/2024 9:29 PM

Procedure Orders

1. Lac Repair [309267027] ordered by Joshua Zaky Wahba, MD

Attestation signed by Victor Edgar Tuckler, MD at 1/28/2024 9:29 PM
Emergency Medicine Attending Attestation Note

Patient was seen by a resident and myself. | have performed the critical or key portions of the service,
and participated in the notes/ assessments /management / procedures performed of the patient. | have
reviewed and agree with the resident's note, and | have reviewed all labs and imaging studies or reports.
| have reviewed assessments and/or procedures performed by the House Officer, | concur with the
documentation of this patient. | have discussed this case with the residents. Treatment plan, patient
history, and co-morbidities were discussed with the House Officer. | have explained my thought
process and medical decision making to the resident. | was present for the key portions of the
separately billed procedures.

Victor Tuckler M.D. ED Staff

This chart was dictated using voice recognition software and may possibly contain phonetic /
grammatical errors.

MUSUOTY
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UNIVERSITY MEDICAL Boyd, Winston Bruce
CENTER - NO a Sex: M
2000 Canal St m: ; :

N Ww Orleans LA 70112-301

ED Provider Note continued

Chief Complaint.
Patient presents with
* Animal Bite

HPI

39-year-old male who was brought in by EMS following a dog bite to the left thigh which occurred earlier this evening.
Patient was bit by a police dog. He states he was on the ground for a few minutes. He did not hit his head or lose
consciousness. He denies any numbness to the lower extremity. Last tetanus was 2 years ago.

History reviewed. No pertinent surgical history.

History reviewed. No pertinent family history.

Social History

Not urrently
* Drug use: Not Currently

Review of Systems
Pertinent ROS in the HPI
Blood pressure 139/85, pulse 84, temperature 97.9 °F (36.6 °C), temperature source

resp. rate 18, SpO2 99 %.

Physical Exam
Vitals and nursing note reviewed.
Constitutional:

General: He is not in acute distress.

Appearance: He is not toxic-appearing or diaphoretic.
HENT: .

Head: Normocephalic and atraumatic. —

Nose: Nose normal.
Eyes:

Extraocular Movements: Extraocular movements intact.
Cardiovascular:

Rate and Rhythm: Normal rate.

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UNIVERSITY MEDICAL Boyd, Winston Bruce
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New Orleans LA 70112-3018 __

ED Provider Note continued ye

Pulmonary:
Effort: Pulmonary effort is normal. No respiratory distress.

Abdominal:

Palpations: Abdomen is soft.
Musculoskeletal:

Cervical back: Normal range of motion.

Comments: 2 deep puncture wounds on the left mid thigh, 1 greater than 2 cm the other 1 approximately 1
cm. Scattered abrasions over the thigh. 2+ DP pulses. Motor and sensation intact distally
Skin:

General: Skin is warm and dry.

Neurological:
General: No focal deficit present.
Mental Status: He is oriented to person, place, and time. Mental status is at baseline.

Lac Repair
Date/Time: 1/23/2024 3:00 AM

Performed by: Joshua Zaky Wahba, MD
Authorized by: Pierre G. Detiege, MD
Consent:

Consent obtained: Verbal

Consent given by: Patient

Risks discussed: Infection, pain, need for additional repair, poor cosmetic result, nerve damage and poor
wound healing

Alternatives discussed: No treatment and observation
Anesthesia:

Anesthesia method: Local infiltration

Local anesthetic: Lidocaine 1% wio epi
Laceration details:

Location: Leg

Leg location: L upper leg

Length (cm): 2

Depth (mm): 20
Exploration:

Hemostasis achieved with: Direct pressure
Treatment:

Area cleansed with: Saline

Amount of cleaning: Standard

Irrigation solution: Sterile saline

Irrigation method: Pressure wash
Skin repair:

Repair method: Sutures

Suture size: 3-0

Suture material: Prolene

Number of sutures: 1
Repair type:

Repair type: Simple
Post-procedure details:

Dressing: Open (no dressing)

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LCMC Heal 1th Gy SENTER-No 2 | Sex M

New Orleans | LA 70112- a _

+

ED Provider Note | continued) _

Procedure completion: Tolerated well, no immediate complications

Medical Decision Making

HO-2 MDM

39-year-old male who presents after a bite from a police dog. Vital signs stable. Exam findings detailed above. Low
concern for rabies as the bite was from police dog. Plain films obtained of the left knee and thigh showed no obvious
fracture or dislocation. The wounds were irrigated with sterile water. One suture was placed in 1 of the wounds since
it was gaping. Patient will be discharged with course of Augmentin and ibuprofen. Strict return precautions discussed.

Joshua Wahba, MD
LSU Emergency Medicine PGY2
2:57 AM 1/23/24

Dog bite: acute illness or injury

Amount and/or Complexity of Data Reviewed

Independent Historian: EMS

Radiology: ordered and independent interpretation performed. Decision-making details documented in ED Course.

Risk
Minor surgery with no identifi ed risk factors.

urse as of 01/23/240301
an 23, 2024
XR Femur 2 VW Left
Reviewed, interpreted by me as no fracture or
dislocation. Some soft tissue swelling. [JW]
0144 XR Knee 3 VW Left
Reviewed, interpreted by me as no fracture or
dislocation. [JW]

ED Course User Index
[UW] Joshua Zaky Wahba, MD

Clinical | t
Dog bite

pressions as of 01/23/24 0

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LCMC Health

ao BWONWeERSTOMepreant 1-9 peledniddRA/BAice Page 32 of 107
CENTER - NO Sex: M
2000 Canal St m: ; :

_ New Orleans LA 70112- 3018

EPT (contin

Pierre a Detiege, tit Emergency Medicine 01/23/24 0007 ————

Joshua Zaky Wahba, MD
Resident
01/23/24 0301

Electronically signed by Joshua Zaky Wahba, MD at 1/23/2024 3:01 AM
Electronically signed by Victor Edgar Tuckler, MD at 1/28/2024 9:29 PM

ED Triage Notes by Frank Schiavi | Hi, RN a at 1/22/2024 ¢ 2318
Author: Frank Schiavi lll, RN Service: — Author Type: Registered Nurse
Filed: 1/22/2024 11:20 PM Date of Service: 1/22/2024 11:18 PM Creation Time: 1/22/2024 11:18 PM
Status: Signed Editor: Frank Schiavi III, RN (Registered Nurse)

Pt to ER via NOEMS with c/o dog bite to left thigh by Police K-9. Wound to left palm.
Tetanus up to date. Pt assessed by MD.

Electronically signed by Frank Schiavi Ill, RN at 1/22/2024 11:20 PM

ED Care Timeline

23-15 Patient arrived in — " Frank Schiavii III,

ED RN

23:15:44 Emergency Frank Schiavi III,
encounter created RN

23:16 Travel Screening Have you been in contact with someone who was sick? No / Unsure ; Do you Frank Schiavi Ill,
have any of the following new or worsening symptoms? None of these ; RN

Have you traveled internationally or domestically in the last month? No Travel
Locations: Travel history not shown for past encounters

23:16:50 Arrival Complaint NOEMS-3258 - dog bite

23:17 Peripheral IV Removal Date/Time: 01/23/24 0243 Placement Date/Time: 01/22/24 2317 Frank Schiavi Ill,
01/22/24 Present on Admission: Yes Placed by External Staff?: EMS Size (Gauge): RN
Left;Posterior 20 G Orientation: Left;Posterior Location: Hand
Hand Placed

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Case 2:25-cv-00

LCMC Health *

ED Care Timeline continued _——
23:17 Vital Signs

CENTER - NO
2000 Canal St
New Orleans L.

c

A 70112-3018
NO RGE

Vitals Assessment
Automatic Restart Vitals Timer: Yes
Vital Signs
SpO2: 99 %
Oxygen Therapy
SpO2: 99 %
Height and Weight
Height: 6' (182.9 cm)
Height Method: Stated
Weight - Scale: 200 Ib (90.7 kg)
Weight Method: Stated
Pain Assessment
Pain Assessment: 0-10
Pain Score: 7 - Seven
Pain Type: Acute pain
Pain Location: Leg
Pain Orientation: Left
Pain Descriptors: Sore
Pain Frequency: Continuous
Pain Onset: Sudden
Clinical Progression: Not changed

Frank Schiavi lll,

Sex: M

RN

23:17 Pain Assessment

Other flowsheet entries
Restart Pain Assessment Timer: Yes

Frank Schiavi Ill,
RN

23:17 Arrival Doc

Prehospital Treatment

Prehospital Treatment: Yes
Prehospital Care

LDA Prior to Arrival: Peripheral IV
Vital Signs

Temp: 97.9 °F (36.6 °C)

Pulse: 84

Resp: 18

BP: 139/85

Frank Schiavi Ill,
RN

23:17 Anthropometrics

Anthropometrics
Weight Change: 0

Frank Schiavi III,
RN

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Case 2:25-cv-00080 BWA MENS pPgeHiagnt 1-9 Bos Wig 91 2, ce Page 34 of 107

LOMC Health 9 Snck's , sex M

2000 Canal St mi: ;
New Orl LA 70112 3018 __

ED Care Timeline continued
23:17

Custom Formula Height and Weight Frank Schiavi III,
Data Adjusted Body Weight: 186.8 RN
BSA (Calculated - sq m): 2.15 sq meters
Adjusted Body Weight: 190.6
Post-Hemodialysis
Treatment Weight Change: 90.72
Weight and Growth Recommendation
AIBW (Calculated) Male: 82.85 kg
Other flowsheet entries
IBW (Ib): 178
% IBW: 112.36
EBW (ib): 13.2 Ibs
Mifflin - St. Jeor Equation: 1860.19
BMI: 27.1
MIFFLIN-ST.JEOR: 1860.19
HARRIS-BENEDICT: 1967.62
Adjusted Ideal Body Weight (Using Metric IBW Calculation): 79.84 kg
BMI (Calculated): 27.2
IBW/kg (Calculated) Male: 77.6 kg
Low Range Vt 6cc/kg MALE: 465.6 mL
Adult Moderate Range Vt 8cc/kg MA: 620.8 mL
Adult High Range Vt 10cc/kg MALE: 776 mL
IBW (Ib): 184.35
% IBW: 108.49
Total Weight Lost (Ib): -200 Ibs
EBW (lb): 15.65 Ibs
% EBWL: 108.49
FLOW1.6: 3.44 CC/MIN
FLOW1.8: 3.87 CC/MIN
FLOW2.0: 4.3 CC/MIN
FLOW2.2: 4.73 CC/MIN
FLOW2.4: 5.16 CC/MIN
FLOW2.8: 6.02 CC/MIN
FLOWS3.0: 6.45 CC/MIN
Cerebral Perfusion flow: 2.15 CC/MIN
FLOW1.2: 2.58 CC/MIN
FLOW1.4: 3.01 CC/MIN
FLOW2.6: 5.59 CC/MIN
Percent Weight Change Since Birth: 0
IBWikg (Calculated) : 77.6
Low Range Vt 6cc/kg : 465.6 mL
Adult Moderate Range Vt 8cc/kg : 620.8 mL
Adult High Range Vt 10cc/kg : 776 mL

23:17 Sepsis Shock Other flowsheet entries Frank Schiavi III,
Index Shock Index (HR/SBP): 0.6 RN

23:18:32 Chief Complaints Animal Bite . Frank Schiavi ill,
Updated RN
23:18:32 Triage Started Frank Schiavi Ill,
RN
23:18:33 ED Triage Notes Pt to ER via NOEMS with c/o dog bite to left thigh by Police K- Frank Schiavi Ill,
9. Wound to left palm. RN
Tetanus up to date. Pt assessed by MD.

23:21 ED Sepsis Sepsis Screening Frank Schiavi Ill,
Screening Does the patient have any of the following symptoms? : No RN
Does the patient have 2 or more of the following Sepsis Criteria?: No
Do you have a high suspicion for Sepsis?: No

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LCMC Health @

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CENTER - NO
2000 Canal St

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Boyd, Winston Bruce
a Sex: M
m: ' :

ED Care Timeline | continued

Severity Rating Scale (CSSRS)

Frank Schiavi lll,

SAFE-T Protoco
with C-SSRS 1. Wish to be Dead: No RN
2. Suicidal Thoughts: No
6. Suicide Behavior Question: No
23:21 Custom Formula Columbia Suicide Severity Rating Scale (CSSRS) Frank Schiavi Ill,
Data CSSRS Risk Level: No risk RN
CSSRS Numeric: 0
23:21:20 Allergies Reviewed Frank Schiavi Ill,
- Review Complete RN
23:21:36 History Reviewed Sections Reviewed: Surgical Frank Schiavi Ill,
RN
23:21:38 History Reviewed Sections Reviewed: Alcohol Frank Schiavi Ill,
RN
23:23 Acuity Destination Triage Plan Frank Schiavi III,
_ Patient Acuity: 3 RN
Deteriorating Condition instruction given to patient or caregiver?: Yes
ED Destination: Main
23:23:07 History Reviewed Sections Reviewed: Medical, Surgical, Alcohol, Drug Use, Sexual Activity, Frank Schiavi III,
Tobacco, Custom, Family, Socioeconomic, Social Documentation RN
23:23:38 Deteriorating Frank Schiavi III,
Condition RN
Instruction Given
to Patient or
Caregiver
23:23:38 Triage Completed Frank Schiavii III,
RN .
23:25:35 Patient roomed in To room EMS Triage Frank Schiavi Ill,
ED RN
23:30 Early Detection of Other flowsheet entries lp, Background
Sepsis Early Sepsis Detection Score: 0.79 User
23:45 Early Detection of Other flowsheet entries Ip, Background

00:01

Early De ection of

Sepsis

Early Sepsis Detection Score: 0.79

er flowsheet entries

Ip, Background

User

Sepsis Early Sepsis Detection Score: 0.79 User
00:07:34 Assign Attending Pierre G. Detiege, MD assigned as Attending Pierre G. Detiege,
MD
00:07:34 Door to Doc Time Pierre G. Detiege,
Filed MD
00:09:23 Assign Mid-level Paul Alexander Ramirez, MD assigned as Resident Paul Alexander
Ramirez, MD
00:12:02 XR Ordered LCMC XR FEMUR 2 VW LEFT Paul Alexander
Ramirez, MD
00:12:02 Imaging Exam Paul Alexander
Ordered Ramirez, MD
00:12:02 Orders Placed Medications - Tdap (ADACEL) 2 Lf-(2.5-5-3-5 meg)-5Lf/0.5 mL injection 0.5 Paul Alexander
mL Ramirez, MD
Imaging - XR Femur 2 VW Left
00:12:17 Orders Placed Imaging - XR Knee 3 VW Left Paul Alexander
Ramirez, MD
00:12:18 XR Ordered LCMC XR KNEE 3 VW LEFT Paul Alexander
Ramirez, MD

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— Exam

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CENTER - NO

2000 Canal St

New Orleans LA 701 12- 3018

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Boyd, Winston Bruce
m: : :

Paul Alexander —

00: 12: 18
Ordered Ramirez, MD
00:13:36 imaging Exam XR Femur 2 VW Left Ericka Hatsell, RT
Started
00:14:20 Imaging Exam XR Knee 3 VW Left Mallory Kessling,
Started RT.
00:15 PDMP Review PDMP Review Lemc Incoming
Overdose Risk Score: 000 (NARXxCHECK scores) Flowsheet -
Stimulant NARX Score: 000 Appriss
Sedative NARX Score: 000
Narcotic NARX Score: 000
00:15 Early Detection of Other flowsheet entries Ip, Background
Sepsis Early Sepsis Detection Score: 0.79 User
00:31 Early Detection of Other flowsheet entries Ip, Background
Sepsis Early Sepsis Detection Score: 0.79 User
00:32:37 Diagnostic Imaging XR Femur 2 VW Left Ericka Hatsell, RT
Exam Ended
00:32:37 Diagnostic Imaging XR Knee 3 VW Left Ericka Hatsell, RT
Exam Ended
00:39:42 Order Performed XR Knee 3 VW Left - ID: 01XR24263496
00:40:10 XR Knee 3 VW Left Collected: 1/23/2024 00:39 Last updated: 1/23/2024 00:40 Status: Final Edi, Rad Results
Resulted result In
00:40:22 Imaging Final XR Knee 3 VW Left Edi, Rad Results
Result In
00:40:22 Xray Final Result (Final result) LCMC XR KNEE 3 VW LEFT Edi, Rad Results
In
00:43:34 Order Performed XR Femur 2 VW Left - ID: 01XR24263494
00:43:47 XR Femur 2 VW Collected: 1/23/2024 00:43 Last updated: 1/23/2024 00:43 Status: Final Edi, Rad Results
Left Resulted result In
00:43:53 Imaging Final XR Femur 2 VW Left Edi, Rad Results
Result In
00:43:53 Xray Final Result (Final result) LC MC XR FEMUR 2 VW LEFT Edi, Rad Results
In
00:46 Early Detection of Other flowsheet entries Ip, Background
Sepsis Early Sepsis Detection Score: 0.79 User
01:01 Early Detection of Other flowsheet entries lp, Background
Sepsis Early Sepsis Detection Score: 0.79 User
01:15 Early Detection of Other flowsheet entries Ip, Background
Sepsis Early Sepsis Detection Score: 0.79 User
01:31 Early Detection of Other flowsheet entries lp, Background
Sepsis Early Sepsis Detection Score: 0.79 User
01:37 Patient transferred From room EMS Triage to room 2501 Michael Verges,
RN
01:37 Abuse Indicators Screening Michael Verges,

Any physical OR behavioral OR parent/guardian to child interaction
behaviors that prompt concern for abuse/neglect? : No

Safe in Home: Yes

Safe in Relationship: Yes

Are you in immediate danger?: No

RN

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LCMC Health @

~~ Patient Stated

WA-MBN Document 1-9
UNIVERSITY MEDICAL

CENTER - NO
2000 Canal St
New Orleans LA

Filed 01/09/25

Patient Stated Immunization History

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Boyd, Winston Bruce
m: ;

Michael Verges, _

01:37
Immunization Last Tetanus vaccine?: <5 years RN
History influenza Vaccine Screen - October through April
Have you had an influenza vaccine this season? (O=No, 1=Yes): No
Influenza Vaccine Contraindication: Other (comment)
Influenza Vaccine Precautions: Other (comment)
Does Patient Meet Criteria: No, Patient Does not meet criteria for Flu
Vaccine
Pneumonia Vaccination
\ Pneumococcal Vaccine Patient Age: Age 19-64
Pneumococcal 19-64
Have you had a pneumococcal vaccine?: Never
Pneumococcal Vaccine Contraindication (19-64): No Contraindication
Pneumococcal Verification: Self-Reported
Anaphylaxis to DTaP, or any vaccine containing diptheria toxoid?: No
Screening
Does patient have any of the following?: None Present
Are any of the following diseases present?: None Present
01:37:37 Orders New - XR Femur 2 VW Left; Tdap (ADACEL) 2 Lf-(2.5-5-3-5 mcg)-5Lf/0.5 mL Michael Verges,
Acknowledged injection 0.5 mL; XR Knee 3 VW Left RN
01:38 Medication Hold Tdap (ADACEL) 2 Lf-(2.5-5-3-5 mceg)-5Lf/0.5 mL injection 0.6 mL- Dose: 0 Michael Verges,
mL ; Route: Intramuscular ; Reason: Other ; Scheduled Time: 0015 ; RN
Comment: pt UTD had Tdap 2 years ago
01:38:06 Home Medications Michael Verges,
Reviewed RN
01:39:33 Assign Mid-level = Joshua Zaky Wahba, MD assigned as Resident Joshua Zaky
Wahba, MD
01:40:49 Orders Placed Medications - ibuprofen (Motrin) tablet 600 mg Joshua Zaky
Wahba, MD
01:45 Early Detection of Other flowsheet entries Ip, Background
Sepsis Early Sepsis Detection Score: 0.79 User
01:54:12 Orders New - ibuprofen (Motrin) tablet 600 mg Michael Verges,
Acknowledged RN
01:57 Medication Given ibuprofen (Motrin) tablet 600 mg - Dose: 600 mg ; Route: Oral; Scheduled Michael Verges,
Time: 0145 RN
02:01 Early Detection of Other flowsheet entries Ip, Background
Sepsis Early Sepsis Detection Score: 0.79 User
02:10:21 Registration Ella Harrison
Completed
02:15 Early Detection of Other flowsheet entries Ip, Background
Sepsis Early Sepsis Detection Score: 0.79 User
02:31 Early Detection of Other flowsheet entries Ip, Background
Sepsis Early Sepsis Detection Score: 0.79 User
02:31:48 Discharge ED Disposition set to Discharge. Joshua Zaky
Disposition Wahba, MD
Selected
02:31:48 Disposition Joshua Zaky
Selected Wahba, MD .
02:34:06 Orders Placed Medications - amoxicillin-clavulanate (AUGMENTIN) 875-125 mg per tablet Joshua Zaky
875 mg of amoxicillin Wahba, MD
02:34:33 Discharge Orders Medications - amoxicillin-clavulanate (AUGMENTIN) 875-125 mg per tablet; Joshua Zaky
Placed ibuprofen (MOTRIN) 600 MG tablet Wahba, MD

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UNIVERSITY MEDICAL Boyd, Winston Bruce
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New Orleans LA 7011 2-3018

023507  PatientReadyto. = Joshua Zaky

Go Wahba, MD
02:36:01 AVS Printed ED After Visit Summary Michael Verges,
RN
02:43 Peripheral !V Removal Date/Time: 01/23/24 0243 Placement Date/Time: 01/22/24 2317 Michael Verges,
01/22/24 Present on Admission: Yes Placed by External Staff?: EMS Size (Gauge): RN
Left;Posterior 20 G Orientation: Left;Posterior Location: Hand
Hand Removed
02:43:26 Orders New - amoxicillin-clavulanate (AUGMENTIN) 875-125 mg per tablet 875 mg Michael Verges,
Acknowledged of amoxicillin RN
02:46 Early Detection of Other flowsheet entries Ip, Background
Sepsis Early Sepsis Detection Score: 0.85 User
02:52 Medication Given amoxicillin-clavulanate (AUGMENTIN) 875-125 mg per tablet 875 mg of Michael Verges,
amoxicillin - Dose: 875 mg of amoxicillin ; Route: Oral ; Scheduled Time: RN
0245
02:53 Departure Departure Michael Verges,
Condition Departure Condition: Good RN

Mobility at Departure: Ambulatory

Departure Mode: With friend

Patient Teaching: Discharge instructions reviewed; Pain management
discussed; One new prescription medication reviewed; Patient/Caregiver
demonstrated understanding; Patient/Caregiver verbalized understanding

02:54 Patient discharged Michael Verges,
RN

02:54:07 Charting Complete Paul Alexander
Ramirez, MD

02:54:07 Charting Complete Joshua Zaky
Wahba, MD

02:54:07 Billing Extract Michael Verges,

Generated RN

Electronically signed by: Paul Alexander Ramirez, MD o on 01/23/24 0012 Status: Completed
This order may be acted on in another encounter.

Ordering user: Paul Alexander Ramirez, MD 01/23/24 0012 Ordering provider: Paul Alexander Ramirez, MD

Authorized by: Pierre G. Detiege, MD Ordering mode: Standard

Frequency: STAT Once 01/23/24 0012 - 1 occurrence Class: Hospital Performed

Quantity: 1 Lab status: Final result

Instance released by: Paul Alexander Ramirez, MD (auto-released) 1/23/2024 12:12 AM

Transport me QO Stretcher
Reason for Exam: ANIMAL BITE

Reason for adjusted reading priority?

Is this a reportable exam? Yes

XR Femur 2 VW Left [309253952] ys eet ems resulted: 01/23/24 0043, Result status: Final result

Ordering provider: Paul Alexander Ramirez, MD 01/23/24 Order status: Completed
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UNIVERSITY MEDICAL Boyd, Winston Bruce
ye me mg Lda CENTER - NO Sex: M
LeMCHeath® oor

_ New Orleans L

=o =

Resulted by: Eric Joseph Wallace Jr., MD Filed by: Edi, Rad Results In 01/23/24 0043
Performed: 01/23/24 0013 - 01/23/24 0032 Accession number: 01XR24263494
Resulting lab: UMC GE CENTRICITY

Narrative:

LCMC XR FEMUR 2 VW LEFT

ICD10: W54.0XXA_ Dog bite
REASON FOR STUDY: ANIMAL BITE.
PROVIDER COMMENTS:
COMPARISON: None.

FINDINGS: Soft tissue swelling and irregularity about the anterior thigh with associated soft tissue gas. No acute fracture or
dislocation. No significantly advanced degenerative change.

Impression:
Soft tissue injuries about the anterior thigh.

Electronically Signed By: ERIC WALLACE 1/23/2024 12:43 AM CST

ulted: 01/23/24 0043, Result status: In pi

“Ordering provider: Paul Alexander Ramirez, MD 01/23/24 Order status: Completed
0012
Resulted by: Eric Joseph Wallace Jr., MD Filed by: Eric Joseph Wallace Jr., MD 01/23/24 0043
Performed: 01/23/24 0013 - 01/23/24 0032 Accession number: 01XR24263494

Resulting lab: UMC GE CENTRICITY

47 Presen

153 - Unknown UMC GE ~ Unknown Unknown
CENTRICITY

comufreSulted: 01/23/24 0013, Result status: In process

“Ordering provider: Paul Alexander R Ramirez, MD 01/23/24 ~ Order status: Completed
0012
Resulted by: Eric Joseph Wallace Jr., MD Filed by: Ericka Hatsell, RT 01/23/24 0013
Performed: 01/23/24 0013 - 01/23/24 0032 Accession number: 01XR24263494

Resulting lab: UMC GE CENTRICITY

947 Present ”

‘UM Unknown

153 -

CENTRICITY

ee signed by Eric Joseph Wallace Jr, MD on 1/23/24 at 0043 CST

XR Knee 3 VW Left [309253954] (Final result) _

Electronically signed by: Paul Alexander Ramirez, MD on 01/23/24 0012 Status: Completed
This order may be acted on in another encounter.

Ordering user: Paul Alexander Ramirez, MD 01/23/24 0012 Ordering provider: Paul Alexander Ramirez, MD

Authorized by: Pierre G. Detiege, MD Ordering mode: Standard

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UNIVERSITY MEDICAL Boyd, Winston Bruce
2000 Canal St mi: ; 7

_New Or ans LA

Frequency: STAT Once 01/23/24 0013 - 1 occurrence Class: Hospital Performed
Quantity: 1 Lab status: Final result
Instance released by: Paul Alexander Ramirez, MD (auto-released) 1/23/2024 12:12 AM

Questionnaire

Reason for Exam: ANIMAL BITE

Reason for adiusted reading priority?

Is this a reportable exam? Yes

XR Knee 3 VW Left [309253954] __ es no _
Ordering provider: Paul Alexander Ramirez, MD 01/23/24 Order status: Completed

0012

Resulted by: Eric Joseph Wallace Jr., MD Filed by: Edi, Rad Results In 01/23/24 0040
Performed: 01/23/24 0013 - 01/23/24 0032 Accession number: 01XR24263496
Resulting lab: UMC GE CENTRICITY

Narrative:

LCMC XR KNEE 3 VW LEFT

ICD10: W54.0XXA_ Dog bite
REASON FOR STUDY: ANIMAL BITE.
PROVIDER COMMENTS:
COMPARISON: None.

FINDINGS: Soft tissue swelling and irregularity about the anterior thigh with associated soft tissue gas. No acute fracture or
dislocation. No significantly advanced degenerative change.

Impression:
Soft tissue injuries about the anterior thigh.

Electronicaily Signed By: ERIC WALLACE 1/23/2024 12:40 AM CST

Resuited: 01/23/24 0039, Result stat

“Ordering provider: P Paul Alexander Ramirez, MD 01/23/24 Order status: Completed

0012
Resulted by: Eric Joseph Wallace Jr., MD Filed by: Eric Joseph Wallace Jr., MD 01/23/24 0040
Performed: 01/23/24 0013 - 01/23/24 0032 Accession number: 01XR24263496

Resulting lab: UMC GE CENTRICITY

UMC GE - Unknown Unknown
CENTRICITY

153 - Unknown

XR Knee 3 VW Left [309253954] cs ccs ss
Ordering provider: Paul Alexander Ramirez, MD 01/23/24 Order status: Completed

0012
Resulted by: Eric Joseph Wallace Jr., MD Filed by: Mallory Kessling, RT 01/23/24 0014
Performed: 01/23/24 0013 - 01/23/24 0032 Accession number: 01XR24263496

Resulting lab: UMC GE CENTRICITY

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Case 2:25-cv-000

BWONWERSIT MEDICARE 19 lola Wiadton Bitice PAGS 41 of LO7

CENTER - NO Sex: M
2000 Canal St m: , :
New Orleans LA 701 12- -3018_

[24/17 0947 - Present

) Unknown

“453-Unknown UMC
CENTRICITY

Signed... ss . .
Electronically signed by Eric Joseph Wallace Jr., MD o on 1/23/24 at 0040 CST

Procedures

Lac Repair [309267027] (Final result)

Electronically signed by: Joshua Zaky Wahba, MD on 01/23/24 0300 Status: Completed
Ordering user: Joshua Zaky Wahba, MD 01/23/24 0300 Ordering provider: Joshua Zaky Wahba, MD

Authorized by: Pierre G. Detiege, MD Ordering mode: Standard

Frequency: Routine Once 01/23/24 0301 - 1 occurrence Class: Point Of Care

Quantity: 1 Lab status: Final result

Instance released by: Joshua Zaky Wahba, MD 1/23/2024 3:00 AM
Order comments: This order was created via procedure documentation

. soos con MeSulted: 01/23/24 0300, Result status: Final result
Order status: Completed

Ordering provider: Joshua Zaky Wahba, MD 01/23/24 03
Filed by: Victor Edgar Tuckler, MD 01/28/24 2129
Narrative:

Joshua Zaky Wahba, MD = 1/23/2024 3:01 AM

Lac Repair

Date/Time: 1/23/2024 3:00 AM

Performed by: Joshua Zaky Wahba, MD
Authorized by: Pierre G. Detiege, MD
Consent:
Consent obtained: Verbal
Consent given by: Patient
Risks discussed: Infection, pain, need for additional repair, poor
cosmetic result, nerve damage and poor wound healing
Alternatives discussed: No treatment and observation
Anesthesia:
Anesthesia method: Local infiltration
Local anesthetic: Lidocaine 1% w/o epi
Laceration details:
Location: Leg
Leg location: L upper leg
Length (cm): 2
Depth (mm): 20
Exploration:
Hemostasis achieved with: Direct pressure
Treatment:
Area cleansed with: Saline
Amount of cleaning: Standard
Irrigation solution: Sterile saline
Irrigation method: Pressure wash
Skin repair:
Repair method: Sutures
Suture size: 3-0
Suture material: Prolene
Number of sutures: 1
Repair type:
Repair type: Simple
Post-procedure details:
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€ UNIVERSITY MEDICAL Boyd, Winston Bruce
iy, ee tlh 4 3 FF CENTER - NO Sex: M
LOMC Health @) center. Sea =

New Orleans LA 70112-3018 _

Dressing: Open (no dressing)
Procedure completion: Tolerated well, no immediate complications

Resulted: 01/23/24 0300, Result status: Preliminary

Order status: Completed

Filed by: Joshua Zaky Wahba, MD 01/23/24 0301
Narrative:

Joshua Zaky Wahba, MD 1/23/2024 3:01 AM
Lac Repair

Date/Time: 1/23/2024 3:00 AM

Performed by: Joshua Zaky Wahba, MD
Authorized by: Pierre G. Detiege, MD
Consent:
Consent obtained: Verbal
Consent given by: Patient
Risks discussed: Infection, pain, need for additional repair, poor
cosmetic result, nerve damage and poor wound healing
Alternatives discussed: No treatment and observation
Anesthesia:
Anesthesia method: Local injiltration
Local anesthetic: Lidocaine 1% w/o epi
Laceration details:
Location: Leg
Leg location: L upper leg
Length (cm): 2
Depth (mm): 20
Exploration:
Hemostasis achieved with: Direct pressure
Treatment:
Area cleansed with: Saline
Amount of cleaning: Standard
Irrigation solution: Sterile saline
Irrigation method: Pressure wash
Skin repair:
Repair method: Sutures
Suture size: 3-0
Suture material: Prolene
Number of sutures: 1
Repair type:
Repair type: Simple
Post-procedure details:
Dressing: Open (no dressing)
Procedure completion: Tolerated well, no immediate complications

Additional Notes

Discharge Instructions
Joshua Zaky Wahba, MD at 1/23/2024 0235

Author: Joshua Zaky Wahba, MD Service: — Author Type: Resident
Filed: 1/23/2024 2:35 AM Date of Service: 1/23/2024 2:35 AM Creation Time: 1/23/2024 2:35 AM
Status: Written Editor: Joshua Zaky Wahba, MD (Resident)

If you experience any signs of infection at your wound such as redness, warmth, swelling, drainage of pus, or any

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Case 2:25-cv- 8 BWA- A MBN ge ume nt 1-9 a/§4 Q1/09/25 Page 43 of 107
LOMC Heal th .

d, Winston Bruce
CENTER - NO a Sex: M
2000 Canal St Mm: :

New Orle ns LA 2-3018 _
4 -ED in UMCNO EMERGENCY DEPT

Additional Notes (continued) _

other concerning symptoms please return to the nearest emergency room.

Electronically signed by Joshua Zaky Wahba, MD at 1/23/2024 2:35 AM

Medication Administrations

m la ( NTIN) 875. mg per tablet 875 mg_ ofa oxicillin [309253956] _
Ordering Provider. Joshua Zaky Wahba, MD

Status: Completed (Past End Date/T ime)
Ordered On: 01/23/24 0234 Starts/Ends: 01/23/24 0245 - 01/23/24 0252
Ordered Dose (Remaining/Total): 875 mg of amoxicillin (0/1) Route: Oral
Frequency: Once

Ordered Rate/Order Duration: — /—

Performed 01/23/24 Given

875 mg of amoxicillin Oral Performed by: Michael Verges, RN
0252 Scanned Package: 65862-503-20
Documented:
01/23/24 0252

Ordering P Provider: Joshua a Zaky Wahba. | MD — | |

Status: Completed (Past End Date/T ime)
Ordered On: 01/23/24 0140 Starts/Ends: 01/23/24 0145 - 01/23/24 0157
Ordered Dose (Remaining/Total): 600 mg (0/1) Route: Oral
Frequency: Once

Ordered Rate/Order Duration: — /—

Performed 01/23/04 Given 600 mg Oral

Performed by: Michael Verges, RN
0157 Scanned Package: 0904-5854-61
Documented:
01/23/24 0157

Ordering Provider: Paul Alexander - Ramirez; "MD Status: Discontinued ( (Past End Date/T ime), "Reason: Patient

Discharge
Ordered On: 01/23/24 0012 Starts/Ends: 01/23/24 0015 - 01/23/24 0454
Ordered Dose (Remaining/T otal): 0.5 mL (1/1) Route: Intramuscular
Frequency: Once

Ordered Rate/Order Duration: — /—

Performed 01/23/24 Hold 0 mL Intramuscular Performed by: Michael Verges, RN
0138 Other Comments: pt UTD had Tdap 2
Documented:

01/23/24 0138

years ago

Medication Orders _

Medications

Tdap (ADACEL) 2 LA42.5 5-5

-3-5 5 meg)-SLfI0.5 5 mL L injection 0 0.5 mL L (309253951) (Disc
Electronically signed by: Paul Alexander Ramirez, MD on 01/23/24 0012
Ordering user: Paul Alexander Ramirez, MD 01/23/24 0012

Status: Discontinued
Printed on 2/18/24 10:12 AM

Ordering provider: Paul Alexander Ramirez, MD

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Docu
LCMC Health

CENTER - NO
2000 Canal St

Medication Orders continued

Authorized by: Paul Alexander Ramirez, MD Ordering mode: Standard
Frequency: STAT Once 01/23/24 0015-1 occurrence Class: Normal
Discontinued by: Automatic Discharge Provider 01/23/24 0454 [Patient Discharge]
Acknowledged: Michael Verges, RN 01/23/24 0137 for Placing Order

Package: 4928 1-400-58

Electronically signed by: Joshua Zaky Wahba, MD o on n 04/23/24 0140 Status: Completed
Ordering user: Joshua Zaky Wahba, MD 01/23/24 0140 Ordering provider: Joshua Zaky Wahba, MD

Authorized by: Joshua Zaky Wahba, MD Ordering mode: Standard

Frequency: STAT Once 01/23/24 0145 - 1 occurrence Class: Normal

Acknowledged: Michael Verges, RN 01/23/24 0154 for Placing Order
Package: 0904-5854-61

“Electronically signed by: Joshua Zaky Wahba, MD c on n 01/23/24 0234 “Status: Completed
Ordering user: Joshua Zaky Wahba, MD 01/23/24 0234 Ordering provider: Joshua Zaky Wahba, MD

Authorized by: Joshua Zaky Wahba, MD Ordering mode: Standard

Frequency: STAT Once 01/23/24 0245 - 1 occurrence Class: Normal

Indications of use: skin and skin structure infection
Acknowledged: Michael Verges, RN 01/23/24 0243 for Placing Order
Package: 65862-503-20

amoxicillin-clavulanate 1) 87 >
Electronically signed by: Joshua Zaky Wahba, MD on n 01/23/24 0234

Ordering user: Joshua Zaky Wahba, MD 01/23/24 0234 Ordering provider: Joshua Zaky Wahba, MD
Authorized by: Joshua Zaky Wahba, MD Ordering mode: Standard

Frequency: Routine BID 01/23/24 -10 days Class: Normal

Diagnoses

Dog bite [W54.0XXA]

Indications

Dog bite [W54.0XXA (ICD-10-CM)]

" Status: Expired

Electronically signed by: Joshua a Zaky Wahba,

Ordering user: Joshua Zaky Wahba, MD 01/23/24 0234 Ordering provider: Joshua Zaky Wahba, MD
Authorized by: Joshua Zaky Wahba, MD Ordering mode: Standard
PRN Comment: For pain
Frequency: Routine Q6H PRN 01/23/24 - 7 days Class: Normal
Flowsheets _

Screening

Any physicalOR No -MV at 01/23/24
behavioral OR 0138
parent/guardian

to child

interaction

behaviors that

prompt concern

for

abuse/neglect?

Safe in Home Yes -MV at 01/23/24
0138

Safe in Yes -MV at 01/23/24

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Case 2:25-cv-00080 BWGniWeR's ARERR apt 1-9
on tat. & CENTER - NO
LCMC Hea ith € 2000 Canal St
New Orleans LA 70112-3018
|- ED in UMCNO EM

Sex: M

Relationship 0138

Are you in No -MV at 01/23/24
immediate 0138

danger?

yw h
Triage Plan

Patient Acuity Urgent -FS at 01/22/24
2323

Deteriorating Yes -FS at 01/22/24

Condition 2323

instruction given

to patient or

caregiver?

ED Destination Main -FS at 01/22/24
2323

Anthropometrics

Anthropometrics

Height 6' (1.829 m) -FS at
01/22/24 2321
Weight 200 Ib (90.7 kg) -FS

at 01/22/24 2321
Weight Change Q -FS at 01/22/24 2321

BMI (Calculated) 27.2 -FS at 01/22/24
2321

Arrival Doc

Prehospital Treatment

Prehospital Yes -FS at 01/22/24
Treatment 2318
Prehospital Care
Sp02 99 % -FS at 01/22/24
2321
LDA Prior to Peripheral IV -FS at
Arrival 01/22/24 2318
Vital Signs
Temp 97.9 °F (36.6 °C) -
FS at 01/22/24 2318
Pulse 84 -FS at 01/22/24 2318
Resp 18 -FS at 01/22/24 2318
BP 139/85 -FS at 01/22/24
2318
[REMOVED] Peripheral IV 01/22/24 Left;Posterior Hand
IV Properties Piacement Date: 01/22/24 -FS, 01/22/24 2317 Placement Time: 2317 -FS, 01/22/24 2317 Present on

Admission: Yes -FS, 01/22/24 2317 Placed by External Staff?: EMS -FS, 01/22/24 2317 Size (Gauge): 20 G
-FS, 01/22/24 2317 Orientation: Left;Posterior -FS, 01/22/24 2317 Location: Hand -FS, 01/22/24 2317
Removal Date: 01/23/24 -MV, 01/23/24 0243 Removal Time: 0243 -MV, 01/23/24 0243

_. Row Name 4 ee LL
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Case 2:25-cv-00

LCMC Health

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CENTER - NO
2000 Canal St
New Orleans LA 70114

Sex: M

-3018
IERGEN'

Flowsheets continued

Height and Weight
BSA (Calculated — 2.15 sq meters -FS
- sqm) at 01/22/24 2321
Adjusted Body —_— 186.8 -FS at 01/22/24
Weight 2821
Adjusted Body — 190.6 -FS at 01/22/24
Weight 2321
OTHER
IBW (Ib) — 178 -FS at 01/22/24
2321
% IBW —_ 112.36 -FS at 01/22/24
2321
EBW (Ib) — 13.2 Ibs -FS at
01/22/24 2321
Mifflin - St. Jeor — 1860.19 -FS at
Equation 01/22/24 2321
BMI _ 27.1 -FS at 01/22/24
2321
MIFFLIN- — 1860.19 -FS at
ST. JEOR 01/22/24 2321
HARRIS- _— 1967.62 -FS at
BENEDICT 01/22/24 2321
Adjusted Ideal — 79.84 kg -FS at
Body Weight 01/22/24 2321
(Using Metric
IBW Calculation)
BMI (Calculated) — 27.2 -FS at 01/22/24
2321
IBWikg _ 77.6 kg -FS at
(Calculated) Male 01/22/24 2321
Low Range Vt _ 465.6 mL -FS at
6cc/kq MALE 01/22/24 2321
Adult Moderate —_ 620.8 mL -FS at
Range Vt 8&cc/kg 01/22/24 2321
MA
Adult High Range — 776 mL -FS at
Vt 10cc/kg MALE 01/22/24 2321
IBW (1b) _ 184.35 -FS at 01/22/24
2321
% IBW _ 108.49 -Fs at 01/22/24
2321
Total Weight Lost — -200 Ibs -FS at
(Ib) 01/22/24 2321
EBW (ib) — 15.65 Ibs -FS at
01/22/24 2324
% EBWL _ 108.49 -Fs at 01/22/24
2321
FLOW1.6 _ 3.44 CC/MIN -Fs at
01/22/24 2321
FLOW1.8 _ 3.87 CC/MIN -FS at
01/22/24 2321
FLOW2.0 — 4.3 CC/MIN -FS at
01/22/24 2321
FLOW2.2 — 4.73 CC/MIN -FS at
04/22/24 2321
FLOW2.4 — 5.16 CC/MIN -FS at
01/22/24 2321
FLOW2.8 —_ 6.02 CC/MIN -Fs at
01/22/24 2321
FLOWS.0 — 6.45 CC/MIN -FS at
01/22/24 2321
Cerebral _ 2.15 CC/MIN -FS at
Perfusion flow 01/22/24 2321
FLOW1.2 _ 2.58 CC/MIN -FS at

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LCMC Health’

BWONNERSITYIREDIERD +9 BoE Windlen Brice Page 47 of 107

CENTER - NO Sex: M
2000 Canal St
New Orleans LA 701 12-3018

Flowsheets continued

OAI22124 2324.

FLOW1.4 _— 3.01 CC/MIN -FS at
01/22/24 2321
FLOW2.6 — 5.59 CC/MIN -FS at
01/22/24 2324
Percent Weight _ O -FS at 01/22/24 2321
Change Since
Birth
IBWikg —_— 77.6 -FS at 01/22/24
(Calculated) 2321
Low Range Vt _ 465.6 mL -FS.at
6cec/ka 01/22/24 2321
Adult Moderate — 620.8 mL -FS at
Range Vt 8ce/ka O1/22/24 2321
Adult High Range — 776 mL -FS at
Vt 10cc/kg 01/22/24 2321
Weight and Growth Recommendation
AIBW —_— 82.85 kg -FS at
(Calculated) Male 01/22/24 2321
Post-Hemodialysis
Treatment —_ 90.72 -FS at 01/22/24
Weight Change 2321
Columbia Suicide Severity Rating Scale (CSSRS)
CSSRS Risk No risk -FS at 01/22/24 —
Level 2323

CSSRS Numeric 0 -FS at 01/22/242323 —

Departure

Departure Good -MV at 01/23/24 —
Condition 0263

Mobility at Ambulatory -MvV at —
Departure 01/23/24 0253

Departure Mode With friend -mvat —
01/23/24 0253

Patient Teaching Discharge _—
instructions
reviewed;Pain
management
discussed;One new
prescription
medication
reviewed:Patient/Ca
regiver
demonstrated
understanding;Patie
nt/Caregiver
verbalized

understanding -Mv
at 01/23/24 0253

Vital Signs

Temp —_ 97.9 °F (36.6 °C) -
FS at 01/22/24 2318

Pulse — 84 -FS at 01/22/24 2318

Resp = 18 -FS at 01/22/24 2318

BP —_ 139/85 -FS at 01/22/24
2318

SpO02 — 99 % -FS at 01/22/24
2321

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Case 2:25-cv-00080 PIONNVERS ry AREBIERE 1-9 Boi EWR RR Brice Page 48 of 107
LCMC Health @¢ CENTER - NO Sex: M

2000 Canal St
_New C Orleans LA 701 O11 2- -3018

Pain Assessment

Pain Assessment — 0-10 -FS at 01/22/24
2321

Pain Score — 7 - Seven -FS at
01/22/24 2324

Pain Type _ Acute pain -FS at
01/22/24 2321

Pain Location _ Leg -FS at 01/22/24
2321

Pain Orientation — Left -FS at 01/22/24
2321

Pain Descriptors — Sore -FS at 01/22/24
2321

Pain Frequency — Continuous -FS at
01/22/24 2321

Pain Onset _ Sudden -Fs at
01/22/24 2324

Clinical — Not changed -FS at

Progression 01/22/24 2321

Height and Weight

Height _ 6' (1.829 m) -FS at
01/22/24 2321

Height Method —_— Stated -FS at 01/22/24
2321

Weight _— 200 Ib (90.7 kg) -FS
at 01/22/24 2321

Weight Method _ Stated -FS at 01/22/24
2321

Early Detection of Sepsis

OTHER

Early Sepsis 0.85 -Bi at 01/23/24 0.79 -BI at 01/23/24 0.79 -BI at 01/23/24 0.79 -BI at 01/23/24 0.79 -Bi at 01/23/24
Detection Score 0248 0233 0218 0203 0147

OTHER
Early Sepsis 0.79 -Bi at 01/23/24 0.79 -BI at 01/23/24 0.79 -Bl at 01/23/24
Detection Score 17

0.79 -BI at 01/23/24

OTHER

Early Sepsis 0.79 -Bl at 01/23/24 0.79 -Bl at 01/23/24 0.79 -Bl at 01/22/24 0.79 -Bi at 01/22/24
Detection Score 9017 0003 2347 2332

epsis Screening

Sepsis Screening

Does the patient No -FS at 01/22/24
have any of the = 2921

following

symptoms?

Does the patient No -FS at 01/22/24
have 2 or more of 2321

the following

Sepsis Criteria?

Do you have a No -FS at 01/22/24
high suspicion for 2521

Sepsis?

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UNIVERSITY MEDICAL Boyd, Winston Bruce
LOMC Health @) cases: 2 SE

New Orleans LA 70112-3018

Flowsheets continued) _

Pain Assessment

Pain Assessment .
Pain Assessment 0-10 -FS at 01/22/24

2321

Pain Score 7 - Seven -FS at
01/22/24 2324

Pain Type Acute pain -FS at
01/22/24 2321

Pain Location Leg -FS at 01/22/24
2324

Pain Orientation —_Left -FS at 01/22/24
2321

Pain Descriptors Sore -FS at 01/22/24
2321

Pain Frequency Continuous -FS at
01/22/24 2321

Pain Onset Sudden -FS at
01/22/24 2324

Clinical Not changed -FS at

Progression 01/22/24 2324

OTHER

Restart Pain Yes -FS at 01/22/24

Assessment 2321

Timer

RowName ——_—04/23/:

Patient Stated Immunization History
Last Tetanus <5 years -MV at
vaccine? 01/23/24 0137

influenza Vaccine Screen - October through April

Have youhadan No -MVat01/23/24

influenza vaccine 137

this season?

(Q=No, 1=Yes)

Influenza Vaccine Other (comment) -
_Contraindication MV at 01/23/24 0137

influenza Vaccine Other (comment) -

Precautions MV at 01/23/24 0137
Does Patient No, Patient Does
Meet Criteria not meet criteria for

Flu Vaccine -MV at
01/23/24 0137
Pneumonia Vaccination
Pneumococcal Age 19-64 -MV at
Vaccine Patient 91/23/24 0137
Age
Pneumococcal 19-64
Pneumococcal No Contraindication
Vaccine -MV at 01/23/24 0137
Contraindication
(19-64)
Anaphylaxis to No -MV at 01/23/24
DTaP, or any 0137
vaccine
containing
diptheria toxoid?

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UNIVERSITY MEDICAL Boyd, Winston Bruce
2000 Canal St m: ; :

New Orleans LA 701 12-3018
U ME

Have youhada Never -MV at 01/23/24

pneumococcal 0137

vaccine?

Pneumococcal Self-Reported -Mv at

Verification 01/23/24 0137
Screening

Are any of the None Present -MV at

following 01/23/24 0137

diseases

present?

Does patient None Present -MV at

have any of the 01/23/24 0137

following?

PDMP Review

Overdose Risk 999 EV yarxcheck 000 El warxcHeck 000 El narxcHEck
Score scores -L at 02/18/24 scores -L at 01/28/24 scores -L at 01/22/24
1011 0028 2315

Stimulant NARX O00 -L ato2/18/241011 O00 -Lato1/29/24 0028 O00 -L at 01/22/24 2315
Score
Sedative NARX QOO -L at 02/18/24 1011 OOO -Lato1/28/24 0028 O00 -Lat 01/22/24 2315
Score
Narcotic NARX OOO -L at 02/18/24 1011 O00 -L ato1/28/240028 O00 -L at 01/22/24 2315
Score

Resend Chart for Billing

Resend Chart for Billing
Resend Chart for Yes -VT at 01/28/24
Billing? 2129

SAFE-T Protocol with C-SSRS

Na

Columbia Suicide Severity Rating Scale (CSSRS)
1. Wish to be No -FS at 01/22/24
Dead 2323

2. Suicidal No -FS at 01/22/24
Thoughts 2323

6. Suicide No -FS at 01/22/24
Behavior 2323

Question

CSSRS Risk No risk -FS at 01/22/24
Level 2323

CSSRS Numeric 0 -FS at 01/22/24 2323

OTHER

Shock Index 0.6 -FS at 01/22/24
(HR/SBP) 2318

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e UNIVERSITY MEDICAL

CENTER - NO

2000 Canal St

New Orleans L.

D

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Boyd, Winston Bruce
m: ; :

A 70112-3018

CN(

Vitals Assessment

Automatic Yes -FS at 01/22/24

Restart Vitals 2321

Timer :

Vital Signs

Temp 97.9 °F (36.6 °C) -
FS at 01/22/24 2318

Pulse 84 -FS at 01/22/24 2318

Resp 18 -FS at 01/22/24 2318

BP 139/85 -FS at 01/22/24
2318

SpO02 99 % -FS at 01/22/24
2321

Height and Weight

Height 6' (1.829 m) -FS at
01/22/24 2321

Height Method Stated -FS at 01/22/24
2321

Weight 200 Ib (90.7 kg) -FS
at 01/22/24 2321

Weight Method Stated -FS at 01/22/24
23214

Pain Assessment

Pain Assessment 0-10 -FS at 01/22/24
2324

Pain Score 7 - Seven -FS at
01/22/24 2321

Pain Type Acute pain -FS at
01/22/24 2321

Pain Location Leg -FS at 01/22/24
2321

Pain Orientation Left -FS at 01/22/24
2321

Pain Descriptors Sore -FS at 01/22/24
2321

Pain Frequency Continuous -FS at
01/22/24 2321

Pain Onset Sudden -FS at
01/22/24 2321

Clinical Not changed -FS at
01/22/24 2321

Progression

ser Key

Registered Nurse

FS Frank Schiavi Ill, RN

L Lome Incoming Flowsheet - — —
Appriss

Bl ip,. Background User — —

MV Michael Verges, RN Registered Nurse Nurse

VT Victor Edgar Tuckler, MD Physician _—

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UNIVERSITY MEDICAL Boyd, Winston Bruce
2000 Canal St m: :

New Orleans LA pO 12-3018

LCMC Healt!

Discharge Instructions

If you experience any signs of infection at your wound such as redness, warmth, swelling, drainage of pus, or any
other concerning symptoms please return to the nearest emergency room.

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UNIVERSITY MEDICAL Boyd, Winston Bruce

CENTER - NO

2000 Canal St

New Orleans LA 7
E Tar

Sex: M

0112-3018
EMERGE

Dischar: e Referenc s/Attachments

Animal Bites ‘Discharge Instructions (English) ~
Animal Bites ED (English)
Laceration Repair With Stitches Discharge Instructions (English)

After Visit Summa

ED After Visit Summary (below)

University ep
ectigal Center

AFTER VISIT SUMMARY -
Winston B. Boyd man: li Po 1/22/2024 @ UMCNO EMERGENCY DEPT 504-702-4003
instructions Today's Visit
if you experience any signs of infection at your wound such as redness, You were seen by P Detlege; MD
warmth, swelling, drainage of pus, or any other concerning symptoms Reason for Visit
please return to the nearest emergency room. Animal. Bite
: oo gs . , Diagnosis

& Your madications have changed Dog bite:

amoxicillin-clavulanate (AUGMENTIN) 2 Imaging Tests

op . XR Femur 2: VW: Left

ibuprofen (Motrin)

XR.Knee 3 VW Left
Review your updated medication list below. :

&® Medications Given

Read the attached information Ibuprofen (Motrin) Last. given
1. Animal Bites Discharge Instructions (English) 1/23/2024 1:57 AM
2. Animal Bites ED (English) ee
3. Laceration Repair With Stitches Discharge Instructions os Blood ie Temperature
(English) CG) Pressure 2 07.9°F
~ 395

Fick up these medications at WALGREENS DRUG
STORE #15574 “TAIRIE, LA - 4507 AIRLINE DR AT
NWC OF CLEARVIEW & AIRLINE

amoxicillin-clavulanate + ibuprofen

“y, Pulse

(2! ga

Oxygen

; Saturation
Address: 4501 AIRLINE DR, METAIRIE LA 70007-5646 eh 99%
Hours: 24-hours =

Phone: 504-885-4867

FO

ss Schedule.an appoininsent with University Maciical
Center Primary Care Clinic as soon as possible for a
visit in 2 weeks (around 2/6/2024)
Why: For suture removal
Spacialty: pumaty Cate
Contact: 2003 Tulane Ave
Suite B
New’ Orleans Louisiana 70112-3018
504-962-6120 . ,
UMCNO Primary Care Center, Suite B of the Clinic (Annex)

Please report to University Medical Center New Orleans. The
main patient entrances are on S. Galvez Street and Tulane
Avenue. Free patient parking is available in our parking garage
at 2001 Tulane Avertue, UMCNO Primary Care Center js located
on the first floor, street level, of the UMCNO parking garage at
the corner of Tulane Avenue and $ Prieur Street. Swipe your
valid driver's license or state-issued ID card at the kiosk, When
called, check in with the Patient Access Registrar.

Winston B, Boyd ven: Printed at 1/23/2024 2:36 AM Page 1of 15 Sake

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UNIVERSITY MEDICAL Boyd, Winston Bruce
CENTER - NO

2000 Canal St

New Orleans LA 70112-3018

ir

Sex: M

LCMC Health

After Visit Summa

instructions (continued)
Go to UMCNO EMERGENCY DEPT

Why: As needed, if symptoms worsen
Specialty. Emergency Medicine
Contact 2000 Canal St
New Orleans Louisiana 70112-3018
504-702-4003
Report to emergency room registration.

What's Next

You currently have no uipcorning appointments scheduled.

Questions about your health or care at LCMC Health? Call our free Nurse Hotline
at (504) 962-6202. Hours: Mon-Fri 8a-8p and Sat-Sun 8a-4p.

‘We're committed to providing you with the best care possible. It is important for us to know if we accomplished our
goal during your stay with us. You may receive a phone call or paper survey following your discharge from UMC to rate
your hospital experience, including your room, how you were treated and other items. Your input would be greatly
appreciated. Thank you for your help in improving the care we will provide for you and othets in the future.

If you have any non-urgent problems after discharge, please feel free to call the Nurse Manager or the Charge Nurse on
the unit you were discharged from at_(504)702-3000, We will help you with any questions you may have.

University Medical Center would like to thank you for allowing us to. assist you with your healthcare needs. The
following includes patient education materials and information regarding your injury/illness. Our entire staff strives to
provide an excellent experience for our patients and their families.

Patient satisfaction is important to us! After discharge, you may be randomly selected to get.a-call from our patient
satisfaction survey vendor: Your answers. help us to improve. care for our patients: We hope that you will take the time to
answer the survey when called, and.let us know how we are doing, Thank you for choosing University Medical Center
for your care!

immunizations Administered
Name Date

TDAP / 1/23/2024 Deferred
Manufacturer: Sanofi Pasteur
Medication Name: ADACEL (TDAP ADOLESN/ADULT)(PF)2LF-(2.5-5-3-5MCG)-5 LF/0.5 MLIM SUSP

Medicaid Transportation Information

Non-Emergency transportation to medical appointments.

Winston B. Boyd (MRN: la » Printed: at 1/23/2024 2:36 AM Page 2 of 15 Eile:

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. UNIVERSITY MEDICAL Boyd, Winston Bruce
LCMC Health

CENTER - NO Sex: M
2000 Canal St
New Orleans LA

After Visit Summa

Medicaid Transportation information (continued)
if you have Medicaid and require transportation to follow-up appointments, you can access Medicaid Transportation by
calling the telephone number on the back of your Medicaid card and following the prompts.

if you. do not knew which Medicaid plan you have call: 1-888-342-6207

| Medicaid Provider _ Call Center Name _ : Phone Number
| Legacy Medicaid | Southeast Transportation. Reservations: 855.
Healthy Blue Meditrans Reservations: 866-430-1101

| AmeriHealth Caritas _ "Southeast Transportation
Humana Healthy Horizons Meditrans Reservations: 844-613=1638
LA Healthcare Connections Centene Reservations: 855-369-3723

"F Reservations: 866-726-1472

“United Healthcare
Community

Members must call no later than 48 HOURS/2 BUSINESS DAYS before the time of your appointment. You must call
between 7ami-7pm Monday~— Friday to make your reservation. Have your Medicaid number or social number ready. You
will néed the address of your appointment as well a3 the addréss of your pick up location.

Winston B. Bayd ovr: Printed: at 1/23/2024 2:36 AM Page 3 0f 15 pike

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UNIVERSITY MEDICAL Boyd, Winston Bruce
2000 Canal St m: , :

New Orleans LA 701 13 -3018

Changes to Your Medication List
START taking these medications

, amoxiciilin-clayulanate 875-125 mg per tablet Take 1 tablet by mouth 2 (two) times daily for 10 days
Commaeniy known as: AUGMENTIN
START

, ibuprofen 600 MG tablet Take 1 tablet by mouth every 6 (six) haurs as needed
Commenly known as: Motrin (For pain) for up to 7 days
StaHY

~LCME Health Patient Portal

Welcome to:LCMG Health Patient Portal! Send messages to-your health care providers, renew. prescriptions; view
test results, request and manage appointments, and more. For medical emergencies, dial 911.

To sign-up; visit https://PatientPortal CMCHealthrorg Click “Sign Up: Now" and enter your access cade exactly: asit
appears below:

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Expires: 3/23/2024 2:36 AM

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i UNIVERSITY MEDICAL Boyd, Winston Bruce

CENTER - NO

2000 Canal St

New Orleans LA 70112-3018
a fe ae \ : iE

Sex: M

Attached Information Animal Bites Discharge Instructions (English)

Patient Education

Animal Bites Discharge Instructions

About this topic

Many kinds of animals can bite you. The bite may have scraped, torn, or punctured your skin. Depending on how
serious the bite is, you may need stitches. You may need to take antibiotics to treat or prevent infections, The doctors
gave you. a rabies vaccine if the anitnal bite could have exposed you to rabies. You will heed to get more shots of the
vaccine to keep you from getting rabies. Most of the time, you can. care for your wounds at home. How long it will take
to heal is. based on how serious the: wound is.

What care is needed at home?

.

Ask your doctor what you need to do when you go home. Make sure you ask questions if you do not understand
what the doctor says.

+ if you got a prescription for antibioti¢s, be sure to take all of the medicine as prescribed.

The dactor may want you to keep your wound covered as it heals. You may want to use a thin layer of antibiotic
ointment to. help keep the wound moist. This will also keep the dressing from sticking to the wound.

+ After a day or two, you can gently wash the wound with soap and water Pat dry and put on a clean dressing. If
you got stitches, the doctor will tell you how to care for them.

*

Change your dressing once a day or every other day.
* Always wash your hands. before and after touching the wound.

» Each time you change the dressing, look closely. at the wound to be sure it is healing the right way. The wound
may have a thin, yellowish discharge, and this is. normal.

«

Avoid picking the scab. or scratching the site which may catise more irritation.

Do not soak in water or swim with an open wound.

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New Orleans LA 70112-3018

After Visit Summary (continued) _

Wound Care

Askifyou &
needa %
tetanus: shot &

Wash your
hands

. Have the
Watch for Caring doctor take
signs of for your out your
infection wound stitches or

staples

Do not remove
Take care of § a the small pieces
your dressing of tape that

cover the wound

What follow-up care is needed?
+ Your doctor may want you to follow up in’ 48 hours to check for infection.

* Ifyou have stitches, you will need to have them taken out. Your doctor will often want to do this in 1 to 2 weeks.

What drugs may be needed?
‘The doctor may order drugs to:

+ Help with pain

* Prevent infection

You may also get a tetanus or rabies shot from your dactor, If rabies shots are needed, they are giver over a specific
period of time. Make sure you keep all appointments to get all of your shots.

Will physical activity be limited?

For minor bruises or wounds, you'will likely be able to de your normal activities. If your wound is very bad, you may
have to limit your activity.

What problems could happen?
Most animal bites get better without problems. Sometimes, there are problems like:
* Infection

* Bleeding

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2000 Canal St m: , :

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-ED in| MER

After Visit Summary (

« Pain in the bitten area

« Drainage; swelling, or redness at wound site

What can be done to prevent this health problem?
* Always.be careful ‘when playing with pets.
* Do not bother animals, especially when they are éating, sleeping, or caring for their young.
* Do not step between animals that are growling, hissing, or fighting.

* Do not interact. with unknown animals. Help your children learn which animals are OK to play with. Always ask
before you reach out to touch someone's animal.

* Do not play with wild animals. Keep your fingers out of cages at zoos and pet stores.
* Do not.capture or feed wild animals.

* Do net pull on animal's tails or ears.

* Keep your pet's rabies shots up to date.

* Keep your tetanus shot up to date.

« {f arrunknown animal comes up to you, do not move.

Avoiding Animal Bites

Avoid taking a dog's
bone or toys

. Avoid bothering dogs
when they are eating

Avoid putting your face
right up to a dog’s face

Avaid bothering animals
when they are resting

Avoid grabbing tail
or ears

When do I need to call the doctor?
* You have a fever of 100.4°F (38°C) of higher or chills.
* Your wound is swollen, red, or warm.

» Your wound has thick yellow or green drainage.

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€ UNIVERSITY MEDICAL Boyd, Winston Bruce
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2000 Canal St : '
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After Visit Summar

« The wound opens up,

« You have more pain at the bite after the first 2 days.

Teach Back: Helping You Understand

The Teach Back Method helps you understand the information we are giving you. After you talk with the staff, tell them
in-your own words what you learned. This helps to make sure the staff has described each thing clearly. it also helps to
explain things that.may have been confusing. Before going home, make sure you can do these:

+ {can tell you how to care for my wound.
« [cart tell you what | will do to help prevent another animal bite.

* Ecan tell you what | will do if | have swelling, redness, or warmth around my wound.

Last Reviewed Date
2021-10-05

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effects, or risks that may apply to a specific patient. It is not intended to be medical advice of a substitute for the
medical advice, diagnosis, or treatment of a health care provider based on the health care provider's examination and
assessment of a patietit’s specific and unique circumstances. Patients must speak with a health care provider for
complete information about their health, medical questions, and treatment options, including any risks or benefits
regarding use of medications. This information does not endorse any treatments or medications as safe, effective, or
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After Visit Summa

continued

Attached Information Animal Bites ED {English}

Patient Education

Animal Bites ED

General Information

Yau came to the Emergency Department (ED) after an animal bite. The bite may have scraped, torn, or punctured your
skin. Depending on how serious the bite is, you may need stitches. You may need to take antibiotics to treat or prevent
infections. The doctors gave you a rabies vaccine if the animal bite could have exposed you to rabies. You will need to
get more shots of the vaccine to. keep you frorn getting rabies. Mdst of the time, you can care for your wounds at home.
How long it will take to heal is based on how serious the wound is.

What care is needed at home?

.

Call-your regular doctor to let:them: knew you were in the ED. Make a follow-up appointment if you were told to.

+ If you got a prescription for antibiotics, be sure to take all of the medicine as prescribed.

The doctor may want you to keep your wound covered as it heals. You may want to use a thin layer of antibiotic
ointment.to help keep the wound moist. This will also keep the-dressing from sticking to the wound.

+ After a day or two, you can gently wash the wound with soap and water. Pat dry and put on a clean dressing. If
you got stitches, the docter will tell you how to care for them.

.

Change your dressing once a day or every other day.
» Always wash your hands before and after touching the wound.

« Each time you. change the dressing, look closely at the wound to be sure itis healing the right way. The wound
may have a thin, yellowish discharge, and this is normal.

*

Avoid picking the scab or scratching the:site which may cause more irritation.

* Do not soak in water of swim with an open wound. (

.

if you have stitches, do not take ther out yourself. Your stitches need to be removed on

When do I need to call the doctor?

* You have a fever of 100.4°F (38°C). or higher or chills.

+ Your wound is swollen, red, or warm.

* Your wound has thick yellow or green drainage.

+ The wound apens up.

* You have more pain at the bite after the first 2 days.

* You have-new ar worsening symptoms.

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After Visit Summary (continued

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medical advice, diagnosis, or treatment of a health care provider based on the health care provider's examination and
assessment of a patient's specific and unique circumstances. Patients must speak with a health care provider for
complete information about their health, medical questions, and treatment options, including any risks: or benefits
regarding use of medications. This information does not endorse any treatments or medications as safe, effective, or
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[S| Atta ched Inform atl on Laceration Repair With Stitches Discharge Instructions (English)

Patient Education

Laceration Repair With Stitches Discharge Instructions

About this topic

A laceration is a cut‘on your skin. It is most often caused by a sharp object like a knife blade, glass, or from other things
with sharp edges. Sometimes, this kind of cut is shallow. Other times, it goes deep into the skin and muscles. Before the
cut caf be closed, it must be cleaned, Closing the wound is called a laceration repair.

Stitches are a special kind of thread and are also called sutures, They are used to clase a skin cut.or wound. They are
often used fot cuts that are deep or bleeding. Stitches work well for cuts with jagged edges, or those that have fat or
muscle showing, Stitches most often makes the skin heal faster and with less scarring, The skin is sewn together with
special kinds of thread. Stitches are used to fix cuts on the outside of the skin. They are also used to fix cuts made in
surgery and cuts inside the body. Stitches are also used to help.control bleeding. Some stitches need to be taken out.
Others melt away or dissolve on their own asthe wound heals.

Laceration Repair with Stitches

#-Laceration

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After Visit Summa

Wound Care

Wash your
hands

Have the doctor
Watch for signs. take out your stiches
of infectar

of staples

Take care af Ge nol remove the
your drassing anal pieces of Tape
that cover the wound

What care is needed at home?

Ask your doctor what you need to do when you go heme. Make sure you ask questions if you do not understand
what the doctor says.

*

Your wound may drain a small amount of clear yellow fluid in the first few days.

Keep your wound clean and dry for the first 24 hours, After 24 hours, you can.gently wash the wound with soap
and water or take a shower.

»

You may apply an antibiotic ointment to the wound 1 to.2 times each day. If you want, you can cover your wound
with a bandage. You can.also leave it open to air if you prefer:

Wash your hands before and after you touch your wound or bandage.

Avoid activities that could hurt the area of your stitches for 1 to 2 weeks. If you hurt the same part of your body
again, stitches can break, and the cut can open up again.

Do not try to take out the stitches yourself.

What follow-up care is needed?
« Your doctor may ask you to make visits to the office ta check on your progress. Be sure to keep these visits.

* }fyou have stitches that do not dissalve.on their own, you will need to have them taken out. Your doctor will often
want to do this in 5 to 10 days.

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After Visit Summa

What drugs may be needed?
The doctor may order drugs to:
* Help with pain
* Prevent or fight an infection
Will physical activity be limited?
+ Limit your activity until your wound js fully healed. Talk te your doctor about the right amount of activity fer you.

* Your doctor will tell you when it is safe to return. to sports. Be sure to ask your doctor before you do any activities.

What problems could happen?
* Bleeding
* Infection
* Poor healing
* Scarring
When do | need to call the doctor?
* You have.a fever of 100.4°F 38°C) or higher or chills.
* Your wound is swollen, red, or warm.
+ Your wound has thick yellow or green drainage.
* The wound opens up.
Teach Back: Helping You Understand

The Teach Back Method helps you: understand the information we are giving you. After you talk: with the staff, tell them
in your own words what you learned. This helps to make sure the staff has described each thing clearly. It also helps to
explain things that may have been confusing. Before going home, make sure you can do these:

* {can tell you about my procedure.
* {can tell you how to care for my wound.
* | can tell you if my stitches dissolve or need to be removed by the doctor.

* [can tell you what | will do if | have swelling, redness, or warmth around my wound.
Last Reviewed Date
2021-05-05

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After Visit Summa "

medical advice, diagnosis, or treatment of a health. care provider based on the health care provider's examination and
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complete information about their health, medical-questions, and treatment options, including any. tisks:or benefits
regarding use of medications. This information does not endorse any treatments or medications as safe, effective, or
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When you feel sick, you want to feel better fast. But antibiotics aren't the answer
for every illness. This brochure.can Kelp you know when antibictics work -
and when they won't. For more information, talk to your healthcare provider or visit www.cdc.gov/getsmart.

The Risk: Bacteria Become Resistant

What's the harm in taking, antibiotics anytime? Using antibiotics when they are not needed causes some bacteria to
become resistant to the antibiotic.

These resistant bacteria are stronger and harder to kill. They can stay in your body and cari case severe illnesses that
cannot be cured with antibiotics. A cure far resistant bacteria may require stronger treatment - and possibly a stay in the
hospital.

To avoid the threat of antibiotic-resistant

infections, the Centers for Disease. Contral and Prevention (CDC). recommends that

you avoid taking unnecessary
antibiotics:

Antibiotics Aren't Always the Answer

Most illnesses ate caused by two. kinds of germs: bacteria or viruses. Antibiotics can cure bacterial infections - not viral
infections.

Bacteria cause strep throat, some pneumonia and sinus infections. Antibiotics can work.
Viruses cause the common cold, most coughs and the flu. Antibiotics don't work.

Using antibiotics for a virus:

+ Will NOT cure the infection

» Will NOT help you feel better
« Will NOT keep others fram catching your illness

Protect Yourself With the Best Care

You should not use. antibiotics to treat the common. cold or the flu.

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New Orleans LA 701

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After Visit Summary

tf antibiotics are prescribed for you to treat a bacterial infection - such as strep throat - be sure to take ail of the
medicine. Only using part of the prescription means that only part of the infection has been treated. Not finishing the
medicine can cause resistant bacteria to develop.

Talk to Your Healthcare
Provider to Learn. More

Commonly Asked Questions:

How Do | Know if | Have a Viral or Bacterial Infection?

Ask your healthcare provider and follow his or her advice on what to do-about your illness.

Remember, colds are caused by viruses and should not be treated with antibiotics.

Won't an Antibiotic Help Me Feel Better Quicker so That | Can Get Back to Work When I Get a Cold or the Flu?

No, antibiotics do nothing to help a viral illness. They will not help you feel better sooner. Ask your healthcare provider
what other treatments are available to treat your symptoms.

If Mucus from the Nose Changes from Clear to Yellow or Green - Does This Mean
I Need an Antibiotic?

Ne. Yellow or green mucus does not mean that you have a. bacterial infection. It is normal for mucus to get thick and
change. color during a viral cold.

GET SMART...

« Antibiotics are strong medicines, but they don’t cure everything.

* When not used correctly, antibiotics can actually be harmful to your health.

« Antibiotics can cure most bacterial infections. Antibiotics cannot cure viral illnesses.
« Antibiotics kill bacteria — not viruses.

* When you are sick, antibiotics are not always the answer.

USE ANTIBIOTICS WISELY
Talk with your healthcare provider about the right medicines
for your health.

Cold or Flu,
Antibiotics Don't Work for You.

For more information, see the Centers for Disease Control and Prevention website at:
www.cde.gov/getsmart or call 1-800-CDC-INFO

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Arrival Date/Time: 01/22/2024 2315

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Admission Type: Emergency Point of Origin: Self Referral Admit Category:
Means of Arrival: Ambulance Primary Service: Emergency Secondary Service:
Medicine
Transfer Source: Service Area: LCMC SERVICE Unit: UMCNO
: AREA EMERGENCY
DEPT
Admit Provider: Attending Provider: Pierre G. Detiege, Referring Provider:
MD

Unit |

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01/23/2024 0254 Home Or Self Care Pierre G. Detiege, MD UMCNO EMERGENCY
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Documents

Consent Form - Electronic signature on 1/23/2024 2:06 AM (effective from 1/23/2024) - E-signed _

Clinical date/time: 1/23/2024 0206 Description: —
Status: Signed
Effective date/time: 1/23/2024 0206

University °
Medical Center

New Orieans
LOMO Health

Financial Consent for Examination and Treatment

IMPORTANT: DO NOT SIGN THIS FORM WITHOUT READING AND UNDERSTANDING ITS CONTENTS.

4, Consent to Medical Treatmerit/Services and Surgical Procedures

| hereby authorize Provider, the provider(s) treating me, and. whomever they may-select as their assistants, to provide reasonable and
necessary medical treatment to.me, including but not limited to, emergency care, administration of approved drugs, nursing care, and radiology
and pathology services. | understand itis the responsibility of my physician or surgeon fo obtain my informed consent, when.required, for
medical or surgical treatment, spécial diagnosti¢ or therapeutic procedures, or hospital services rendered under the general and special
instractions of the physician. | understand that in many instances the physicians and surgeons furnishing services to me are Independent
contractors and are not. employees or agents of Provider. fl am incapacitated and unable to provide my consent and authorization as
discusséd above, such consent-and authorization may be given by any of those persons who are authorized to consent to surgical or medical
treatment on my behalf pursuant to La. R. S. 40:1299.53.

2. Specimens

| authorize and consent to the preservation, éxamination, testing, retention, use, including, without limitation, the use for scientific, diagnostic,
therapeutic or educational purposes, or disposal, by Provider, at its discretion, of any specimens, fissues, materials, or substances which may be
removed during a diagnostic procedure, therapeutic intervention or medical treatment.

3. Photography

I consent to photographs, videotapes, digital or other images that may be recorded fo document my care. | understand that these images may be
used for treatrnent, health care operations, scientific, educational, research, patient identification, or security purposes. | understand that these
images will be stored in a secure manner and will only be used for reasons other than those outlined above upon my written authorization, or as
otherwise permitted by law.

4; Telemedicine.
| coriserit:to. having some or all of my medical services provided by video or other interactive telecommunication technology as allowed by law. |
understand that | may decline to receive medical services via telemedicine or withdraw from such care at any firme.

5. Education

have been informed.and understand that Provider is a teaching institution and the procedures performed may require observation, cooperation
and services of multiple health care-providers. | authorize and understand that my care may be provided by student nurses, technicians,
therapists, interns, residents; fellows and other providers and observers, which are supervised by qualified faculty and/or personnel, in
accordance with policies of the Provider. | also consent ta the presence of manufacturer's representative(s) during certain pracedure(s) to
observe and provide technical consultatidn'to the physician(s) at the discretion and approval of the physician(s) and Provider.

§. Drugs
Unless my provider specifies otherwise, | agree and consent to Provider dispensing chemically identical or therapeutically comparable ("generic")
drugs. from a.drug list approved by the Provider's Medical Staff, as part of its formulary system.

7. Devices
lL consent to disposal of explanted medical device unless | specifically request it to be retained prior to procedure.

8. No Guarantees: /
| acknowledge that the practice of medicine is.not.an exact science and that NO GUARANTEES OR ASSURANCES HAVE BEEN MADE TO
ME conceming the outcome and/or result of any Medical Treatment/Services.

9. Blood

| understand that should any hospital or emergency medical personnel, physician, or other person(s) be exposed or report an exposure to my
blood ‘ar body fluids, my blood will be tested for blood borne infections including, without limitation, Hepatitis B and C as weil as HIV/AIDS. |
understand that | can decline HIV testing If it is for routine screening. | understand that state law requires Provider and/or physician to report
certain infectious diseases-including sexually transmitted diseases to the state Department of Health,

40. Waiver of Liability for Loss of Personal Property
Provider encourages patients and families NOT to store money and valuables at Provider facilities; these items should be left at home. or with
family members or other caregivers. Some Provider facilities have designated secure areas for the safekeeping of money and valuables
(including but not limited to, money, jewelry, documents, fur garments, dentures, eyeglasses, hearing aids, prosthetics, or other personal
property}. Provider will not be liable for the loss of or damage to any personal property not formally deposited in a designated secure area.

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UNIVERSITY MEDICAL Boyd, Winston Bruce
2000 Canal St m: , :

New Orleans LA 701 12-3018

11. Assignment of Benefi
| hereby assign and authorize, whether | sign as agent or as Patient, direct payment to Provider and/or to any hospital based physician of all
insurance and health plan benefits, including, but not limited to, federal healthcare program benefits, otherwise payable to or on behalf-of me for this:
hospitalization or for these outpatient services, including emergency services if rendered. It is understood by me-that | am financially responsible to

Provider for charges not covered by this assignment.

42.. Authorization for Healthcare Related Calls, Texts, and E-mails

F authorize Provider, its employees, agents, representatives and/or designees to contact: me using prerecorded/artificial voice messages and/or
automatic dialing service at any telephone: number {including a wireless telephone) that | disclose to Provider. This consent and authorization will
apply to text messages sent to the wireless numbers | disclose to Provider as well as emails using any email address.that | provide to Provider.

| agree that by providing services to myself (or others | may:be-financially responsible, including but not limited to my dependent(s), "We", (which, for
purposes of this CONSENT FORM at UNIVERSITY MEDICAL CENTER - NO, “We” or "Us" includes any third party and/or service partner we enlist to
service your account or to collect any amounts you may owe) may contact you, or anyone on your behalf, by telephone at any telephone number
associated with your account, including wireless.telephone numbers, which could result in charges to-you. We may also contact you by sending text
messages .to any number you provide or We obtain or emails using any email address you provide or We obtain. Methods of contact may include using
pre-recorded/aitificial voice messages and/or use.of an automatic dialing device, as applicable. Telephone calls to and from Us may be monitored and
‘yecorded, You also agree and understand We may use vendor partners in servicing your account. Any information available'or obtained by Us may be
used.by Us and provided to our vendor partners for the limited purpose of servicing and/or collection.

13. Authorization to Release Information
I hereby authorize Provider to obtain my medical information from other health care providers and suppliers as needed for my care and
treatment. { authorize Provider to disclose, for review and/or copying, any of my medical information compiled during my admission as may be
requested by my insurance company (private or governmental, Le., Medicare or Medicaid), or other financially liable third party and/or their
designated agent(s), for my benefit determinations, payment for services provided to me, and determination of the appropriateness of my
admission-or continued admission to, and length of stay at Provider location. EXCEPT AS.| MAY SPECIFICALLY DIRECT OTHERWISE, | further
authorize Provider to disclose my: medical information te persons participating in my care. | understand that some of these providers and
suppliers may be independent persons or entities that are involved in my medical care. | understand that State and Federal reguiations may also
require Provider to report information about me for public health or safety purposes including, but not limited to, reporting to immunization
registries. if | am.an LCMC Health employee or contractor, and am injured or exposed while at work and receive treatment, | authorize LOMC
Health Employee Health to access my medical record for follow-up care and related purposes.

{further Uriderstand that the Provider belongs, directly or indirectly, to the Partnership for Access to Total Health information Exchange (PATH HIE)
which is also known as the Greater New Orleans Health Information Exchange (GNOHIE).. PATH HIE allows other providers to see your health records
including your health history, the medicines you take, test results, surgery reports, hospital discharge notes, and other health information. The sharing
of this information saves time and helps providers give you better care. {f you do not want the PATH HIE to share your records, you can “OPT OUT” of
the- PATH HIE at anytime by calling 504-301-9835 or by visiting the website at httos:/fonohie.org/contact-main/patient-opt-out- contact-form/ and
clicking on.“FAQs.” Your records for treatrrient, payment, and operations will be shared until GNOHIE receives your “opt out’ directive. | further
understand that the Provider may participate in secure information exchanges designed to promote efficient, high quality care. These exchanges allow
other providers to see your health records including your health history, the medicines you take, test results, surgery reports, hospital discharge notes,
and other health information. Ifyou do not want te share your records with these. exchanges, you can “opt out” of at anytime by sending a completed
arid signed Opt-Out Form to the appropriate facility's Compliance Department or by contacting the LCMC HIM Department at 1(844) 324-6205 for
assistance in submitting the Opt-Out Form. if you opt out of these exchanges, you will be excluded. from ail exchanges that Provider participates in.

14. Financial Agreement
[hereby obligate. myself to pay Provider for all care, services, and treatment | receive, according to Provider's regular rates and fee schedules. If |

am covered by a health plan-.or insurance policy, | agree to provide ctirrent and accurate information prior to or at the time. of admission/
registration. | certify that all information that | have provided or shared with. the Provider is true and accurate and that | have complied with all
inguran¢ée company requirements for referrals, pre~authorizations, and family coverage to avoid payment denial. | understand that if! have failed to
comply with these requirements, | will be. responsible for the bill. If | arm eligible to receive benefits under a health care service plan with which
Provider has contracted, | may be required to pay for some services pursuant to the plan's contract. if [prefer a private room during an inpatient
stay, lunderstand that | may. be responsible. for its cost. i my health care plan determines Provider's services to me are not medically necessary, |
authorize-Provider to represent me in any review of the determination made by or on. behalf of my health care plan. if non-insurance payments.
niade on iy account exceed the tofal amount due, Including without limitation to any late charge, Provider is authorized to apply that excess to
any pre-existing account for prier medical services furnished. In the event, my account becomes delinquent and is referred to. an attorney or a
collection agency, | will be-expected.to pay attorney fees, court costs, and collection experises. | understand that:| am responsible for any non
~covered services, deductibles, and co~payments. All delinquent accounts. shall bear interest.at the maximum rate allowed bylaw. | understand
that I will receive bills both from Provider and any independent physicians or other practitioners involved in my care.

l understand thatithis General Consent for Examination and Treatment will remain in effect. and apply to all treatment or services |
receive unless [ révoke it, in writing, except to the extent that Provider has already taken. action in reliance therein. | also understand.
that | may be asked to provide informed consent for specific procedures, treatments, or services rendered by Provider, a physician,
or other healthcare providers affiliated with Provider and that such informed consent will include, but is not limited to, the benefits:
and risks associated with a specific procedure, treatment, or sefvice. Such informed consent will be presented to me ih a separate
document or electronic medium and will be made part of my medical record.

FINANCIAL RESPONSIBILITY BY PERSON OTHER THAN THE PATIENT OR PATIENT'S LEGAL REPRESENTATIVE

Lagfee to accept financial responsibility for'services rendered to the Patient and to unconditionally accept the ternis of the Financial Agreement

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UNIVERSITY MEDICAL Boyd, Winston Bruce
2000 Canal St m: ' :

New Orleans LA 7011

and ‘Assignment of Benefits set forth above.

PATIENT CERTIFICATION
| have-read, understood and fully agree to each of the above statements and have been provided the opportunity to ask questions regarding such
statements. [sign below as my free and voluntary act. | also acknowledge that | have been offered information on the following subjects: Patient
Rights and Responsibilities, Advance Directives, Notice of Privacy Practices, and Patient Billing. | also acknowledge that! have. the right to receive.a
copy of this General Consent form upon my request.

7

Signature of Responsible Party: | Signature coptured with Topaz by Winston B. Boyd at 1/23/2026 02:06 AM

if other than Patient, indicate relationship:

(if signing via MyChart} - Relation to Patient : | a

Reason Patient is unable to sign {if applicable):

(if signing via MyChart) - Reason unable to sign : |) EN ee es

Hospital Representative: HARRISON, ELLA

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yes a | CENTER - NO a ex: M
LCMC Health od 2000 Canal St mM: ORG:

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UNIVERSITY MEDICAL Boyd, Winston Bruce
2000 Canal St mi: ; :

70112
OEM

[2312024) - E-signed

Description: —

Status: Signed
Effective date/time: 1/23/2024 0207

PATIENT’S BILL OF RIGHTS AND RESPONSIBILITIES
Your Rights

® You have the right to receive considerate, respectful and compassionate care in a safe setting regardless. of your
age, gerider, race, national origin, religion, sexual orientation, gender identity or disabilities.

* You have the right to receive care in.a safe environment free from all forms of abuse, neglect, or mistreatment.

* You have the right to be called by your proper name and to be in an environment that maintains dignity and
adds to a positive self-image.

* You have the right to be told the names of your doctors, nurses, and all health care team members directing
and/or providing your care.

* You have.the right to have a family member or person of your choice and your own doctor notified promptly of
your admission to the hospital.

* You have the right to have someone remain with you for emotional support during your hospital stay, unless
your visitor’s presence compromises your or others’ rights, safety or health. You have the right to deny
visitation at any time.

® You have the right to be told by your doctor about your diagnosis and possible prognosis, the benefits and risks
of treatment, and the expected outcome of treatment, including unexpected outcomes. You have the right to give
written Informed consent before any non-emergency procedure begins.

* Youll have the right to have your pain assessed and to be involved in decisions about treating your pain.

* You have the right to be free from restraints and seclusion in any form that is not medically required and ta
have restrictions on your freedom kept to the minimum needed to protect other people.

*® You can expect full consideration of your privacy and confidentiality in care discussions, exams, and
treatments. You may ask for an escort during any type of exam. You have the right to access protective and
advocacy services in cases of abuse or neglect. The hospital will provide a list of these resources.

* You, your family, and friends with your permission, have the right to participate in decisions about your care,
your treatment, and services provided, including the right to refuse treatment to the extent permitted by law. [f
yau leave the hospital against the advice of your doctor, the haspital and doctors will not be responsible for
any medical consequences that may occur.

@ You, your family, and friends with your permission, have the right to participate in decisions about your care,
your treatment, and services provided, including the right to refuse treatment to the extent permitted by law. If
you leave the hospital against the advice of your doctor, the hospital and doctors will net be responsible for
any medical consequences that may occur.

* You have the right‘to agree or refuse to take part:in medical research studies. You may withdraw from a study at
any time without impacting your access to standard care.

* You have the right to communication that you cah understand. The hospital will provide sign language and
foreign language interpreters as needed at no cost. Information given will be appropriate to your age,
understanding, and language. If you have vision, speech, hearing, and/or other impairments, you will receive
additional aids to ensure your care needs are met.

® You have the right to make ah advance directive and appoint someone to make health care decisions for you if
you are unable. If you do not have an advance directive, we can provide you with information and help you
complete one.

® You have the right to be involved in your discharge plan. You can expect to be told in a timely manner of your
discharge, transfer to another facility, or transfer to another level of care. Before your discharge, you can expect
to receive information about follow-up care that you may need.

* You have the right to receive detailed information about your hospital and physician charges,

® You can expect that all communication and records about your care are confidential, unless disclosure is
permitted by law. You have'the right te see or get a copy of your medical records. You may add information to
your medical record by contacting the Medical Records Department. You have the right to request a list of
people to whom your personal health information was disclosed.

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New Orleans LA 7011 2-3018
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Documents (continued

e You have the right to give or refuse consent for recordings, photographs, films, or other images to be produced
or used for internal or external purposes other than identification, diagnosis, or treatment. You have the right to
withdraw consent up until a reasonable time before the item Is used.

® Be given a statement of your legal rights under the Mental Health Act and information about available advocacy
services and grievance procedures at the time that the Order of Authorization for Temporary Admission is made.

* Seek.a review by a Mental Health Tribunal against being on an order

® if you ora family member needs to discuss an ethical issue related to your care, a member of the Ethics Service
is available by pager at all times. To reach a member, dial 504-702-3000,

* You have the right to spiritual services.

® You have the right to voice your concerns about the care you receive. If you have a problem or complaint, you
may talk with your doctor, nurse manager, or a department manager. You may also contact the Executive Lead ~
Patient Experience at 504-702-3600.

® if your concern is not resolved to your liking, you may also contact: Louisiana Department of Health (LDH), by
mailto Health Standards Section P.O Box 3767 Baton Rouge, LA 70821, email: hhs.mail@la.gov, by phone to
225-342-0138 or 866-280-7737, or by fax to 225-342-5073. You may also contact The Joint Commission via
their website www.jointcommission.org using the "Report a Patient Safety Event" link in the "Action Center" on
the home page of the website, by fax to 630-792-5636 or by mail to The Office of Quality and Patient Safety
{OQPS), The Joint Commission, One Renaissance Boulevard, Oakbrook Terrace, linois 60181. To share
concerns of discrimination, contact the Office of Civil Rights at the U.S. Department of Health and Human
Services, 1301 Young Street, Suite 1169, Dallas, TX 75020.

Your Responsibilities

e You are expected to provide complete and accurate information, including your full name, address, and
home telephone number, date of birth, Social Security number, insurance carrier and employer when it is
required.

* You should provide the hospital or your doctor with a copy of your advance directive if you have one.

* You are expected to provide complete and accurate information about your health and medical history,
including present condition, past illnesses, hospital stays, medicines, vitamins, herbal products, and any
other matters that pertain to your health, including perceived safety risks.

* You are expected to ask questions when you do not understand information or instructions. If you believe
you cannot follow through with your treatment plan, you are responsible for telling your doctor. You are
responsible for outcomes if you do not follow the care, treatment, and service plan.

* You are expected to actively participate in your pain management plan and to keep your doctors and
nurses informed of the effectiveness of your treatment.

* You are asked to please leave valuables at home and bring only necessary items for your hospital stay.

e You are expected to treat all hospital staff, other patients, and visitors with courtesy and respect; abide by
all hospital rules and safety regulations; and be mindful of noise levels, privacy, and number of visitors.

« You are expected fo provide complete and accurate information about your health insurance coverage and
to pay your bills in a timely manner.

e You have the responsibility to keep appointments, be on time, and call your health care provider if you
cannot keép your appointments.

@ You have the responsibility to voice your concerns about the care you receive. If you have a problem or
complaint, you should talk with your nurse, doctor, nurse manager, and/or a department manager. You
may also contact the Executive Lead — Patient Experience at 504-702-3600.

Appointed Designated Representative

Would you like to appoint a designated representative at this time? This person will be informed of medical

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UNIVERSITY MEDICAL Boyd, Winston Bruce
2000 Canal St m ; :

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" information including but not limited to your diagnosis and medical testing.

A designated representative is defined as someone appointed by the patient to act on behalf of the patient
when the patient is unable to do so, or when the patient has given permission to the designated representative
to make decisions.

Would you like to appoint a designated representative at this time?
Appointed Designated Representative:

Relationship to Patient:

Home Phone Number:

Cell Phone Number:

Your signature below ensures you have reviewed your rights and responsibilities as a UMCNO

patient.
WWe>fakseo—

Signature captured with Topaz by Winston B. Boyd at 1/23/2024 02:07 AM
Signature of Patient or Patient's Designated Representative

For Inpatients Only

For inpatients only, please check the appropriate response from the drop-down menu on the left:

Interpreter Questions

Interpreter Used?
Information about the Interpreter (Name/Service/Company/etc.):

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UNIVERSITY MEDICAL Boyd, Winston Bruce
2000 Canal St m ; :

New Orleans LA 701 12-3018

om 1/23/2024) - E-signed ......

Description: —_

Status: Signed
Effective date/time: 1/23/2024 0207

University *s
Medical Center
New Orleans
LOMC Health

Balance Billing Disclosure Notice

Patient Name: | BOYD,WINSTON Date Of Birth: Th
BRUCE

Guarantor BOYD,WINSTON Relationship to Patient | Self

Name: BRUCE

Payor Name: AETNA BETTER Payor ID: a
HEALTH

Insured Name: | BOYD,WINSTON Provider: DETIEGE, PIERRE G.
BRUCE

Pursuant to Louisiana Revised Statute 22:1880, University Medical Center New Orleans is
providing the above patient/guarantor with this notice and is disclosing that as of January 23, 2024
they

with the above listed payor

Professional services rendered by independent healthcare professionals are not part of the hospital
bill. These services will be billed to the patient separately.

Please understand that physicians or other healthcare professionals may be called upon to provide
caré or services to you or on your behalf, but you may not actually see, or be examined by, all
physicians or healthcare professionals participating in your care; for example, you may not see
physicians providing radiology, pathology, and EKG interpretation. In many instances, there will be a
separate charge for professional services rendered by physicians to you or on your behalf, and you
will receive a bill for these professional services that is separate from the bill for hospital services.
These independent healthcare professionals may not participate in your health plan and you may
be responsible for payment of all or part of the fees for the services provided by these physicians
who have provided out-of-network services, in addition to applicable amounts due for copayments,
coinsurance, deductibles, and non-covered services.

We encourage you to contact your health plan to determine whether the independent healthcare
professionals are participating with your health plan. In order to obtain the most accurate and up-to-
date information about in-network and out-of-network independent healthcare professionals, please

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UNIVERSITY MEDICAL Boyd, Winston Bruce

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contact the customer service number of your health plan or visit its website. Your health plan is the
primary source of information on its provider network and benefits. To help you determine whether
the independent healthcare professionals who provide services at this facility are participating with
your health plan, we have provided you with a complete list of the names and contact information
for each individual or group which includes the name and contact information for each individual or
group.

We encourage you to request information from your health insurance issuer as to whether these
physicians are contracted with your health insurance issuer and under what circumstance you
may be responsible for payment of any amounts not paid your health insurance issuer.

In addition to receiving a hard copy listing of our physician list during the registration process, we
maintain a listing of these physicians on our website, who have been granted medical staff
privileges to provide medical services at our facility. This list is updated as needed and can be

found at htto:/Avwww.umeno.org/billing

If you are receiving services in a hospital-based outpatient facility where the facility provides the
use of the facility, medical, or technical equipment, supplies, staff, and services, please note the
following. Depending on your health insurance benefit plan and the actual services furnished by the
facility, you may receive a facility charge billed separately from the physician that covers the fees
for the use of the facility, medical, or technical equipment, supplies, staff, and services.

Patient or Paks —

Patient Signature: | ‘Signature captured with Topaz by Winston B. Boyd at 1/23/2024 02:07 AM

Date: January 23, 2024

Hospital Representative: HARRISON, ELLA

Date: January 23, 2024

Interpreter Used? No
information about the Interpreter (Name/Service/Company/etc.): Not Applicable

Business Phone
Number

Specialty Hospital Based Physician Group

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Documents (continued

‘LSU Healthcare Network _ 504.412.1100 _ |

Anesthesiology
Pathology LSU Healthcare Network 504.412.1100
Emergency Medicine LSU Healthcare Network 504.412.1100
Radiology LSU Healthcare Network 504.412.1100

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Documents (continued

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Clinical date/time: 1/23/2024 0208 Description: —
Status: Signed

Effective date/time: 1/23/2024 0208

University “s
Medical Center
New Orleans
LOMC Health

Financial Consent for Examination and Treatment

IMPORTANT: DO NOT SIGN THIS FORM WITHOUT READING AND UNDERSTANDING ITS.CONTENTS.

1. Consent to Medical Treatment/Services and Surgical Procedures

| hereby authorize Provider, the provider(s) treating me, and. whomever they may select as their assistants, to provide reasonable and
necessary medical treatment fo.me, including but not limited to, emergency care, administration of approved drugs, nursing care, and radiology
and pathology services.. |. understand itis the responsibility of my physician or surgeon to obtain my informed consent, when required, for
medical or surgical tréatment, special diagnosti¢ or therapeutic procedures, or hospital services rendered under the general and special
instructions of the physician. {understand that in many instances the physicians and surgeons furnishing services to me are independent
contractors and are not employees or agents of Provider. If| am incapacitated and unable to provide my consent and authorization as
discussed above, such consent and authorization may be given by any of those persons who are authorized to consent to surgical or medical
treatment on my behalf pursuant to La, R..S. 40:1299.53.

2. Specimens

| authorize and consent to the preservation, examination, testing, retention, use, including, without limitation, the use for scientific, diagnostic,
therapeutic or educational purposes, :or disposal, by Provider, at its discretion, of any specimens, tissues, materials, or substances which may be-
refrioved during a diagnostic procedure, therapeutic intervention or medical treatment.

3. Photography

i consent to photographs, videotapes, digilal or other images that may be recorded to document my care. | understand that these images may be
used for treatrnent, health care operations, scientific, educational, research, patient identification, or security purposes. | understand that these
images will be stored in a secure manner and will only be used for reasons other than those outlined above upon my writen authorization, or as
otherwise permitted by law.

4, Telemedicine
| coriserit to having. some or all of my medical services provided by video or other interactive. telecommunication technology as allowed by law. |
understand that | may decline to receive medical services via telemedicine or withdraw from such care at any time.

5. Education

| have been informed.and understand that Provider is a teaching institution and the procedures performed may require observation, cooperation
and services of multiple health care providers. | authorize and understand that my care may be provided by student nurses, technicians,
therapists, interns, residents, fellows and other providers and observers, which are supervised by qualified. faculty and/or personnel, in
accordance with policies.of the Provider. | also consent to the presence of manufacturer's representative(s) during certain procedure(s) to
observe and provide technical consultation to the physician(s) at the discretion and approval of the physician(s) and Provider.

§. Drugs
Unless my provider specifies otherwise, | agree and consent to Provider dispensing chemically identical or therapeutically comparable (‘generic’)
drugs from a.drug list approved by the Provider's Medical Staff, as part of its formulary'system.

7. Devices
| consent to disposal of explanted medical device unless.| specifically request itto be retained prior to procedure.

8 No Guarantees:
| acknowledge thatthe practice of medicine is not. an exact science and that NO GUARANTEES OR ASSURANCES HAVE BEEN MADE TO
ME concerning the outcome and/or result of any Medical Treatment/Services.

9. Blood

| understand that should any hospital: or emergency medical personnel, physician, or other person(s) be exposed or report an exposure to my
blood’or body fluids, my blood will be-tested for blood borne infections including, without limitation, Hepatitis B and C as well as HIV/AIDS. |
understand.that. | can decline HIV testing if it is for routine screening. | understand that state law requires Provider and/or physician to report
certain infectious diseases including sexually transmitted diseases to the state Department of Health.

10. Waiver of Liability for Loss of Personal Property
Provider encourages patients and families NOT to store money and valuables at Provider facilities; these items should be left at home or with
family members or other caregivers. Some Provider facilities have designated secure areas for the safekeeping of money and valuables.
(including but not limited to, money, jewelry, documents, fur garments, dentures, eyeglasses, hearing aids, prosthetics, or other personal
property). Provider will not be liable for the loss of or damage. to any personal property not formaily deposited in a designated secure area.

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New Orleans LA 701 12-301 8
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Documents (continued
11. Assignment of Benefi
I hereby assign and authorize, whether | sign as agent or as Patient, direct payment to Provider and/or to any hospital based physician of all
insurance and health plan benefits, includiig, but not limited to, federal healthcare program benefits, otherwise payable to or on behalf of me for this
hospitalization or for these outpatient services, including emergency services if rendered. It is understood by me that | am financially responsible to
Provider for charges not covered by this assignment.

12.. Authorization for Healtheare Related Calls, Texts, and E-mails

f authorize Provider, its employees, agents, representatives and/or designees to contact me using prerecorded/artificial voice messages and/or
automatic dialing service at any telephone number (including a wireless telephone) that | disclose ta Provider. This consent and authorization will
apply to text messages sent to thé wireless numbers | disclose ta Provider as well as emails using any email address that | provide to. Provider.

Lagree that by providing services to myself (or others | may be-financially responsible, including but not limited to my dependent(s), “We", (which, for
purposes of this CONSENT FORM at UNIVERSITY MEDICAL CENTER - NO,."We" or “Us” includes any third party and/or service pariner we enlist to-
service your account or to collect any amounts you may owe) may contact you, or anyone on your behalf, by telephorie at any telephone. number
associated with your account, including wireless telephone numbers, which could résult in charges to-you. We may also contact.you by sending text
messages to any number you provide. or We obtain or emails using any email address you provide or We obtain. Methods of contact may include using
pre-recordéd/artificial vice messages and/or use. of an automatic dialing device, as applicable. Telephone calls to and from Us may be: monitored and
‘recorded. You also agree and understand We may use vender partners in servicing your account. Any information available or obtained by Us may be
used by Us and provided to our vendor pariners for the limited purpose of servicing and/or collection.

413. Authorization to Release information
thereby authorize Provider to obtain my medical information from other health care providers and suppliers as: needed for my care and
treatment. | authorize Provider to disclose, for review-and/or copying, any of my medical information compiled during my admission as may be
requested by-my insurance company (private or governmental, i.e., Medicare or Medicaid), or other financially liable third party and/or their
designated agent(s), for my benefit determinations, payment for services provided to me, and determination of the appropriateness of my
admission or continued admission to, and length of stay at Provider location. EXCEPT AS | MAY SPECIFICALLY DIRECT OTHERWISE, | further
authorize Providerto disclose my medical information to persons participating in my care. | understand that some of these providers and
suppliers may be independent persons or entities that are involved in my medical care. | understand that State and Federal regulations may also
require Provider to report information about me for public health or safety purposes including, but not limited to, reporting to immunization
registries. If | am.an LCMC Heailth employee or contractor, and am injured or exposed while af work and receive treatment, | authorize LOMC
Health Employee Health to access my medical record for follow-up care and related purposes.

I further understand that the Provider. belongs, directly or indirectly, to the Partnership for Access to Total Health Information Exchange (PATH HIE)
which is also known as the Greater New Orleans Health Information Exchange (GNOHIE).. PATH HIE allows other providers to see your health records
including your health history, the medicines you take, test fesults, surgery reports, hospital discharge notes, and other health. information. The sharing
of this information saves time and helps providers give you. better care. if you do not want the PATH HIE to.share your records, you can “OPT OUT” of
the-PATH HIE. at anytime by calling 504-301-9835 or by visiting the website at https: //gnahie.org/contact-main/oatient-opt-out- contact-form/ and
Gliéking on.“FAQs.” Your records for treatment, payment, and operations will be shared until GNOHIE receives your “opt out" directive. { further
understand that the. Provider may participate in secure information. exchanges designed to promote efficient, high quality care. These.exchanges allow
other providers to see your health records including your health history, the medicines you take, test results, surgery reports, hospital discharge notes,
and other health information. Ifyou do not want to share your records with these exchanges, you can “opt out” of at anytime by sending a: completed
arid signed Opt-Out Form to the appropriate facility's Compliance Department or by contacting the LCMC. HIM Department at 1(844) 324-6205 for
agsistarice in submitting the Opt-Out Ferm. If you opt out of these exchanges, you will be.excluded from ail exchanges that Provider participates in.

44.. Financial Agreement

i hereby obligate. myself to pay Provider for all care, services, and treatment | receive, according to Provider's regular rates and fee schedules: If |
am coverad by a health plan or insurance poliéy, | agree to provide current and accurate information prior to or at the time of admission/
registration, | certify that afl information that | have provided or shared with.the Provider is true and accurate and that | have complied with all
inguranée company requirements for referrals, pre~authorizations, and family coverage to avoid payment denial. | understand that If | have failed-to
comply with these requirements, { will be responsible for the bill. if | ar eligible to receive benefits under a health care service plan with which
Provider has contracted, | may be required to pay for some services pursuant to the plan's contract. if | prefer a private room during an inpatient
stay, | understand that !may be responsible for its cost. if my health care plan determiries Provider's services to. me are not medically necessary, |
authorize Provider to. represent me in any review of the determination made by or on. behalf of my health care plan. if non-insurance payments
iiade on my aécount exceed the tofal amount due, including without limitation.ta any late charge, Provider is authorized to apply that excess-to
any. pre-existing account for prior medical services furnished. In the event, my account becomes delinquent and is referred to.an attorney ora
collection agency; | will be-expected to pay attorney fees, court costs, and collection expenses. | understand that | am responsible for any non
~covered services, deductibles, and co~payments. All delinquent accounts shall bear interest at the maximum raie allowed bylaw. | understand
that l will receive bills both from Provider and any independent physicians or other practitioners involved in my care.

1 understand that this General Consent for Examination and Treatment will remain in effect and apply to all treatment or services |
receive. unless f revoke it, in writing, except to the extent that Provider has already taken. action in reliance therein. | also understand
that | may be asked to provide informed consent for specific procedures, treatments, or services rendered by Provider, a physician,
or other healthcare providers affiliated with Provider and that such informed consent will include, but is not limited to, the benefits
and risks associated with a specific procedure, treatment, or sérvice. Such informed consent will be presented to me in a separate
document or electronic medium and will be made part of my medical record.

FINANCIAL RESPONSIBILITY BY PERSON OTHER THAN THE PATIENT OR PATIENT'S LEGAL REPRESENTATIVE

Lage to accept financial responsibility for'services rendered to the Patient and to unconditionally accept the ternis of the Financial Agreement

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2000 Canal St

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LEMC Health © a
_New Orleans LA 701 12-301 8

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and ‘Assignment of Benefits set forth above.

PATIENT CERTIFICATION
| have read, understcod and fully agree to: each of the above-statements and have been provided the opportunity to ask questions regarding such
statements. l.sign below as my free and voluntary act. { also acknowledge that | have. been offered information on the following subjects: Patient
Rights and Responsibilities, Advance Directives, Notice of Privacy Practices, and Patient Billing. | also acknowledge that have the right to receive.a
copy of this. General Consent form upon my request.

Cc

Signature captured with Tapaz by Winston B. Buyd at 1/23/2024 02:08 AM

Signature-of Responsible Party:

if other than Patient, indicate relationship:

(if signing via MyChar?) - Relation to Patient: |)

Reason Patient is unable to sign {if applicable):

{if signing via MyChart)- Reason unable tosign:| 0 ee

Hospital Representative: HARRISON, ELLA

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UNIVERSITY MEDICAL Boyd, Winston Bruce

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Documents (continued

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CENTER - NO Sex: M
2000 Canal St
New Orleans LA

24-ED

After Visit Summary - Document on 1/23/2024 2:36 AM

Clinical date/time: 1/23/2024 0236 User: Michael Verges, RN
Description: ED After Visit Summary Status: —
Service date/time: 1/23/2024 0236

Document (below)

University OF
/ Medical Center
AFTER VISIT SUMMARY Rew Ouecrs
Winston B. Boyd ven: Oh 1/22/2024 9 UMCNO EMERGENCY DEPT 504-702-4003
Instructions Today's Visit
if you experience any signs of infection at. your wound such as redness, You were seen by P:-Detiege, MD
warmth, swelling, drainage of pus, or any other concerning symptoms Reason for Visit
please return to the nearest emergency raom. Anirnal Bites ©
. Diagnosis:
alions have changed Dog bite
& START taking: a ety
amoxicillin-clavulanate (AUGMENTIN) af Imaging Tests
ibuprofen (Motrin) XB Femur 2 VW Lett
P XR Knee 3 VW Left

Review your updated medication list below.

[S aad the attached information ibuprofen (Matrin) Last given
1. Animal Bites Discharge Instructions (English) 1/23/2024 (57 AM
2. Animal Bites ED (English)

3. Laceration Repair With Stitches Discharge Instructions
(English)

- Blood:
D6 Pressare

139/85.
., Pulse

BA

Oxygen
‘Saturation

99%

Jémiperature

97.9 °F

Pick up these triedications at WALGREENS. DRUG
Ge TORE #15571 - METAIRIE, LA - 4501 AIRLINE DR AT
NW OF CLEARVIEW & AIRLINE

amoxicillin-clavulanate + ibuprofen

Address: 4507 AIRLINE DR, METAIRIE LA 78001-5646
Hours; 24-hours
Phone: 504-885-4887

Respiration

18

fs Schedule an appointment with University Medical
Center Primary Care Clinic as seen as possible for 4
visit In.2 weeks (around 2/6/2024)
Why: For suture removal
Specialty: Primary Care
Contact: 2003 Tulane Ave
Suite B
New Orleans Louisiana 70112-3018
504-962-6120
UMCNO Primary Care Canter; Suite B of the Clinic (Annex)

Please report to University Medical Center New Orleans. The
main patient entrances are on S. Galvez Street and Tulane
Avenue: Free patient parking is available in. our parking garage
at 2001 Tulane Avenue. UMCNO Primary Care Center is focated
on the first floor, street level, of the UMCNO parking garage at
the corner of Tulane Avenue and S Prieur Street. Swipe your
valid driver's license or state-issued ID card at the kiosk. When
called, check in with the Patient Access Registrar.

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UNIVERSITY M cument 1-9 ol Wi oe BR ice Page 84 of 107
Sex: M

CENTER - NO
2000 Canal St
New Orleans LA 701 12-3018

Instructions icontinued

SS Go to UMENO EMERGENCY DEPT
itl Why: As needed, if symptoms worsen
Specialty: Emergency Medicine
Cantact: 2000 Canal St
New Orleans Louisiana 70112-3018
504-702-4003
Report to emergency room registration.

What's Next

You currently have no upcoming appointments scheduled.

Questions about your health or care at LCMC Health? Call our free Nurse Hotline
at (504) 962-6202. Hours: Mon-Fri 8a-8p and Sat-Sun 8a-4p.

We're committed to. providing you with the best care possible. [t is important for us to. know if we accomplished our
goal during your stay with us. You may receive a phone call or paper survey following your discharge from UMC to rate
your hospital experiance, including your room, how you were treated and other items. Your input would be greatly
appreciated. Thank you for your help in improving the care we will pravide for you and others in the future.

if you have any non-urgent problems after discharge, please feel free to call the Nurse Manager or the Charge Nurse on
the unit you were discharged ‘from at (504)702-3000. We will help you with any questions you may have.

University Medical Center would like to thank you for allowing us to assist you with your healthcare needs. The
following includes patient education materials and information regarding your injury/iliness. Our entire staff strives to
provide an excellent experience for our patients and their families.

Patient satisfaction is important to us! After discharge; you may be randomly selected to get a call from our patient
satisfaction survey vendor. Your answers help us to improve care for our patients. We hepe that you will take the time to
answer the survey when called, and. let us know how we are doing. Thank you for choosing University Medical Center
for your care!

Immunizations Administered

Narne Date

TDAP 4/23/2024 Deferred

Manufacturer: Sanofi Pasteur

Medication Name: ADACEL (TDAP ADOLESN/ADULT)(PF}2ZLF-(2.5-5-3-5MCG)-5 LF/0:5. MLM SUSP

Medicaid Transportation Information

Nori-Emergency transportation to medical appointments.

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LCMC Health

CENTER - NO Sex: M

2000 Canal St

Documents (continued

Medicaid Transportation Information (continued)
if you have Medicaid and require transportation to follow-up appointments, you can access Medicaid Transportation by
calling the telephone number on the back of your Medicaid card and following the prompts.

tf you do not know which Medicaid plan you have call: 1-888-342-6207

: Medicaid Provider _|_ Call Center Name : Phone Number

eservations: 866-430-1101

Healthy Blue Meditrans.

AineriHealth Caritas Reservations: 855-913-0364

Humana Healthy Horizons Meditrans - Reservations:

LA Healthcare Connections Centene . Reservations: 855-369-3723

United Healthcare
Community

Member's must call no later than 48 HOURS/2 BUSINESS DAYS before the time of your appointment. You must call
between Zam-7pm Monday — Friday to make your reservation. Have your Medicaid number or social number ready. You
will need the address of your appointment as well as the address of your pick up lacation.

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New Orleans LA 70112- 2018

LCMC Health @

Changes to Your Medication List

START taking these medications

arnoxicillin-claviilanate 875-125 mg per tablet Take 1 tablet by mouth 2 (two) times daily for 10 days
Cernear: wri as: AUGMENTIN

ibuprofen 600 MG tablet Take 1 tablet by mouth every 6.(six) hours as needed
Commonly known as: Motrin (For pain) for up to.7 days

SIRE

LCMC Health Patient Portal

Welcome:ta LCMC Health Patient Portal ! Send messages:to your health:care providers, Tenew prescriptions, view:
test restilts, request and-manage appointments, and more: For medical emergencies, dial 911.

To sign up, visit https://PatientPortal.LCMCHealth.org. Click.”Sign Up Now" and enter your access.code exactly as-it
appears. below:

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2000 Canal St : ;
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Att ached | nfo rm ation Animal Bites Discharge instructions (English)

Patient Education

Animal Bites Discharge Instructions

About this topic

Many kinds of animals can bite you. The bite may. have scraped, torn, or punctured your skin. Depending. on how
serious the bita is, you may need stitches. You may need ‘to take antibiotics to treat or prevent infections. The doctors
gave you a rabies vaccine ifthe animal bite could have exposed you to rabies, You will need to get more shots of the
vaccine to keep you from.getting rabies. Most of the time, you can care for your wounds at home. How long it will take
to heal is based on how serious the wound is:

What care is needed at home?

Ask your doctor what you neéd to do when you go home. Make sure you ask questions if you do not:understand
what the. doctor:says.

if You got a prescription for aritibiotics, be sure to take ail of the medicine as prescribed.

The doctor may warit you to keep your wound covered as it heals. You may want to use a thin layer of antibiotic
ointment to help keep the wound moist. This will also keep the dressing from sticking to the wound.

After a day or two, you can gently wash the wound with soap and water. Pat dry and put on.a clean dressing. If
you got stitches, the doctor will tell you how to care for them.

.

Change your dressing once a day or every other day.

Always wash your hands before and after touching the wound.

e

Each time you change the dressing, look closely at the wound to be sure it is healing the right way. The wound
may have a thin, yellowish discharge, and this. is normal.

*

Avoid picking the scab or scratching the site which may cause more irritation.

.

Do not soak in water or swim with an open wound.

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Wound Care

Ask if you
need.a
fetanus shot

. Have the
Waten for Caring doctor take
signs of for your out your
infection stitches.or
wound staples
we _£ De not remove
‘Take care of the small pieces
your dressing oftepe that

cover the wound

What follow-up care is needed?
* Your doctor may want you to follow up in.48 hours to.check for infection.

* Ifyou have stitches, you will need to have them taken out. Your doctor will often want to do this in 1 to 2 weeks.

What drugs may be needed?
The doctor may order drugs to:

* Help-with pain

* Prevent infection

You may also get a tetanus or rabies shot from your doctor. If rabies shots are needed, they are given over a specific.
period of time. Make sure you keep all appointments to get all of your shots.

Will physical activity be limited?

For minor bruises or wounds, you will likely be able to do your normal activities. ff your wound is very bad, you may
have to limit your activity:

What problems could happen?
Most animal bites get better without problems. Sometimes, there are problems like:
* Infection

* Bleeding

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« Pain in the bitten area

« Drainage, swelling, or redness at wound site

What can be done to prevent this health problem?

Always be careful when playing with pets.

Do not bother animals, especially when, they are eating, sleeping, or caring for their young,

Do not step between animals that are growling, hissing, or fighting.

+ Do not interact with unknown animals. Help your children learn which animals aré OK to play with. Always ask
before you reach out to touch someone's animal.

Do not play with wild animals. Keep your fingers out of cages at zoos and. pet stores.

* Do not capture or feed wild animais.

Do not pull on animal's tails. or ears.
* Keep your pet's rabies shots up to date.

+ Keep your tetanus shot up to date.

if an unknown animal comes up to you, do not move.

Avoiding Animal Bites

Avoid taking a dog’s
bone or toys

Avoid bothering dogs
when they are eating

Avoid putting your face
tight up to a dog’s face

Avoid bothering animals
when they are resting

Avoid grabbing tail
or ears

When do I need to call the doctor?
* You have a faver of 100.4°F (38°C) or higher ar chills.
+ Your wound is swollen, red, or warm.

* Your wound has thick yellow or green. drainage.

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Documents (continued

* The wound opens up.

* You have more pain at the bite after the first 2 days.

Teach Back: Helping You Understand

The Teach Back Method helps you understand the information we are giving you. After you talk with the staff, tell them
in your own words what you learned. This helps to make sure the staff has described each thing clearly. It also helps to
explain things that may have been confusing, Before going home, make sure you can do these:

+ [can-tell you how to care for my wound,
* Ican tell you what [ will do. to help prevent another animal bite.

* Lcan tell you what | will do if] have swelling, redness, or warmth around my-wound.

Last Reviewed Date
2021-10-05

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diagnostic and treatment. options. It does. NOT include all information about conditions, treatments, medications, side
effects, of risks that may apply to a specific patient. It is not-inténided to bé medical advice or a substitute for the
medical advice, diagnosis, or treatment of'a health care provider based on the health care provider's examination and
assessment of a patient's specific and unique circumstances, Patients must speak with.a health care provider for
complete information about their health, medical questions, and treatment options, including any risks or benefits
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New Orleans LA 70112-301 8

Attached Information Animal Bites £D (English)

Patient Education

Animal Bites ED

General Information

You came to the Emergency Department (ED) after an animal bite. The bite may have:scraped, torn, or punctured your.
skin. Depending on how:serious the bite is, you may need stitches. You may need to take antibiotics to treat or prevent
infections. The doctors gave you a tabies vaccine if the animal bite could have exposed you to rabies. You will need to
get more shots of the vaccine to keep you from getting rabies, Most of the time, you cart care for your wounds at home.
How long it will take to heal is based on how serious the wound is.

What care is needed at home?

Call your regular doctor to let them know you were in the ED. Make a follow-up appointment if you were told to.

if you.got a prescription for antibiotics, be sure to take all of the medicine as prescribed.

* The doctor may want you to keep your wound covered as it heals. You may want to use a thin layer of antibiotic
ointment to help keep the wound moist. This will aiso keep the dressing from sticking to the wound,

+ After a day or two, you ¢an-gently wash the wound with soap.and water. Pat dry and put ona clean dressing. if
you got stitches, the doctor will tell you how to care for them.

Change your dressing once a day or every other day.
+ Always wash your hands before and after touching the wound.

* Each time you change the dressing, look closely at the wound to be sure it is healing the right way. The wound
may havea thin, yellowish discharge, and this. is normal.

.

Avoid picking the scab or scratching the site which may cause more irritation.

* Donot soak in water or swim with an open wound.

If you have stitches, do not take them out yourself Your stitches need to be removed.on

When do I need to call the doctor?

* You havea fever of 100.4°F (38°C) or higher or chills.

+ Your wound is swollen, red, or warm.

+ Your wound has thick yellow or green drainage.

+ The wound opens up.

* You have more pain at the bite after the first 2 days.

+ You have new or worsening symptoms.

Last Reviewed Date

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medical advice, diagnosis, or treatment of a health care provider based on the health care provider's examination and
assessment of a patient's specific and unique circumstances. Patients must speak with a health care provider for
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regarding use of medications. This information does not endorsé any treatments or medications as safe, effective, or
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New Orleans LA 70112-3018 _

Documents (continued

Attached info rm ation Laceration Repair With Stitches Discharge Instructions (English)

Patient Education

Laceration Repair With Stitches Discharge Instructions

About this topic

A laceration is a cut on your skin, It is most often caused by a sharp object like a knife blade, glass, or from other things
with sharp edges. Sometimes, this kind of cut.is shallow. Other times, it goes deep inta the skin and muscles. Before the
cut can be closed, it must be cleaned. Closing the wound is called a laceration repair,

Stitches.are a special kind of thread and are also called sutures. They are used to close askin cut or wound. They are
often used for cuts that are deep or bleeding. Stitches work weil for cuts. with jagged edges, or these. that have fat or
muscle showing, Stitches most often makes the skin heal faster and with less scarring, The skin is sewn together with
special kinds of thread. Stitches are used to fix cuts on the outside of the skin. They are also used to fix cuts made in
surgery and cuts inside the body. Stitches are also used to help control bleeding. Some stitches need to be taken out.
Others melt away or dissolve on their own as the wound heals.

Laceration Repair with Stitches

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New Orleans LA 70112-3018
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Documents (continued

Wound Care

Wash your
hands

. have the doctor
Watch for signs take out your stiches
of infection or staples

Take care of De nat remneve the
your dressing Sinall pieces of tape
that cover the wound

What care is needed at home?

* Ask your doctor what you need to do when you go home. Make sure you ask questions if you do not understand
what the doctor says.

Your waund may drain a small amount of clear yellow fluid in the first few days.

.

Keep your wound clean and dry for the first.24 hours. After 24 hours, you can gently wash the wound with soap
and water or take a shower.

You may apply an antibiotic ointment to the wound 1 to 2 times each day. If you want, you can cover your wound.
with a bandage. You can also leave it open to air if you prefer.

* Wash your hands before and after you touch your wound or bandage.

+ Avoid activities that could hurt the area of your stitches for T to 2 weeks, If you hurt the same part of your body
again, stitches can break, and the cut can open up again.

De not try to take out the stitches youself

What follow-up care is needed?
+ Your doctor may ask you to make visits to the office to check on your progress. Be sure to keep these visits.

+ if you, have stitches that do not dissolve on their own, you will need to have them taken out, Your-doctor will often
want to-do this in 5 to 10 days.

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New Orleans LA 701 12-3018
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What drugs may be needed?

The dactor may order drugs to:
« Help with pain
+ Prevent or fight an infection
Will physical activity be limited?
« Limit your activity until yotir wound is fully healed. Talk ta your doctor about the right amount of activity for you.

+ Your doctor will tell you when it is safeta return to sports. Be sure to ask your doctor before you do any activities.

What problems could happen?
« Bleeding
« Infection
* Poor healing
« Scarring
When do | need to call the doctor?
* Yau have.a fever of 100.4°F (38°C). or higher or chills.
* Your wound is swollen, red, or warm.
« Your wound has thick yellow or green drainage.
* The wound opens up.
Teach Back: Helping You Understand

The Teach Back Method helps you understand the information we are giving you. After you talk with the staff, tell them
in your own words what you learned. This helps to make sure the staff has described each thing clearly. It also helps ta
explain things that may have. been confusing. Before going home, make sure you can do these:

« [cantell you about my procedure.
« I can:tell you how to care for my wound.
* [can tell you if my stitches dissolve or need to be removed by the doctor.

* [can tell you what | will.do if | have swelling, redness, or warmth around my wound.
Last Reviewed Date
2027-05-05

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Documents (continued

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When you feel sick, you want to feel better fast. But antibiotics aren't the answer
for every illness. This brochure can help you know when antibiotics worl -
and when: they won't. For more information, talk to.your healthcare provider or visit www.cdc.gov/getsmart.

The Risk: Bacteria Become Resistant

What's the harm in taking antibiotics anytime? Using antibiotics when they are. not needed causes.some bacteria to
become resistant to the antibiotic.

These resistant bacteria are stronger and harder to kill. They can stay in your body and can cause severe illnesses that
cannot be cured with antibiotics. A curé for resistant bacteria may require stronger treatment - and possibly a stay in. the
hospital.

To avoid the threat of antibiotic-resistant

infections, the Centers for Disease Control and Prevention (CDC) recommends that

you avoid taking unnecessary
antibiotics.

Antibiotics Aren't Always the Answer

Most illnesses are caused by two Kinds of germs: bacteria or vituses. Antibiotics can cure bacterial infections - not viral
infections.

Bacteria cause strep throat, some pneumonia and sinus infections. Antibiotics can work.
Viruses cause the common cold, most coughs. and the flu. Antibiotics don't work.

Using antibiotics for a virus:

* Will NOT cure the infection

« Will NOT help you feel better
+ Will NOT keep others from catching your illness

Protect Yourself With the Best Care

You should not use antibiotics to treat the common cold or the flu.

Winston B. Boyd owen: « Printed at 1/23/2024 2:36 AM Page 14 of 15 Epic:

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LCMC Health @ Sex M

CENTER - NO

2000 Canal St ;

New Orleans LA
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Documents (continued

if antibiotics are prescribed for you to treat a bacterial infection - such as strep throat - be sure to take all of the
medicine. Only using part of the prescription means that only part of the infection has been treated. Not finishing the
medicine can cause resistant bacteria to develop.

Talk te Your Healthcare
Provider to Learn More

Commonly Asked Questions:

How Do | Know if | Have a Viral or Bacterial Infection?

Ask your healthcare provider and follow his or her advice on what to do about your iliness.

Remember, colds are caused by viruses and should not be treated with antibiotics,

Won't an Antibiotic Help Me Feel Better Quicker so That | Can Get Back to Work When | Get a Cold or the Flu?

No, antibiotics do nathing to help a-viral illness. They will not help you feel better sooner. Ask your healthcare provider
what other treatments are available to treat your symptoms.

\f Mucus from the Nose Changes from Clear to Yellow or Green - Does This Mean
1 Need an Antibiotic?

No. Yellow or greem mucus does nat mean that-you have:a bacterial infection. It is normal for mucus to get thick and
change: color during a viral cold.

GET SMART...

+ Antibiotics are strong medicines, but they don’t cure everything.

« When not used correctly, antibiotics can actually be harmful to your health.

+ Antibiotics can cure most bacterial infections. Antibiotics cannot cure viral illnesses.
+ Antibiotics kill bacteria — not viruses,

+ When you are sick, antibiotics are not always the answer.

USE ANTIBIOTICS WISELY
Talk with your healthcare provider about the right medicines
for your health.

Cold or Flu.
Aritibioti¢s Don’t Work for You.

For more information, see the Centers for Disease Control and Prevention website at:
www.cde.gov/getsmart or call 1-800-CDC-INFO

Winston B. Boyd (MRN: a. Printed at 1/23/2024 2:36 AM Page 15 0f 15 Sipser

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. UNIVERSITY MEDICAL Boyd, Winston Bruce
LCMC Health ©

CENTER - NO
2000 Canal St
New Orleans LA 70112-3018

Sex: M

Documents (continued

Clinical date/time: 4/23/2024 0000 ) User: Jennifer Jones
Description: NOEMS Status: Received
Service date/time: 1/23/2024 Effective date/time: 1/23/2024

Scan (below)

New Osteans EMS i
Item #: 01-A-4214-24

New Orleans EMS
<i ONL 1D Al 2529 Earhart Blvd
LP New Orleans, LA 70125
Work: (504) 658-2640

-Print.Out v1 Fax: (504) 658-2739

Rertiras mirc) fre ee

D.O.B: la Age: 39 Years Weight: 90.7 kg (200
lbs}

Race: Black or Gender: Male
Tican
American

Name: Boyd,
Winston

SSN

Hospital Medical Record Number

Hospitai Medical Record Number

1001721394 . 4 . othe Le s
fs Patient No Veteran Status; No Validity: 100
Homeless?:

eu eee Ce ek

Primary Impression: Trauma ~ Traumatic injury

Complaint
Complaint Type Complai Duration Time Units of Duration oF Co Taint
‘Chief (Primary). ‘Traumaticinjury _  _ Not Reporting Not Reporting |. Not Reporting. ~ 7" -
Chief Complaint Extremity-Lower Chief Camplaint Musculoskeletal/Skin
Anatomic Location: Organ System:
Alcohol/Drug Use: None Reported Possible Injury: Yes

Cardiac Arrest; No

we ELIE

pre

Medication Allergies
Medication Allergies
\No‘Known'Drug Allergy

A tte cs

Patient Medications
Medication Dosage

en ae

Medical History: Unable to Complete

Barriers to Care: None Noted Medical History Patient Advance Directives: None
Obtained From:

Cr aio

Vitals
PTA Time BP Limb HR Rhythm Resp SpO2 Qualifier Temp CBG Pain GCS Position
01/22/2024:22:40:50, 147/96 RightAcm- 87 SinusRhythm 78 98  RoomAir 7 15 Semi-Fowlers
01/22/2024 22:45:38 135/97 Right Arm ” Sinus Rhythm 18 99 Room Air 7 15 Semi-Fowlers
01/22/2024 22:50:33 140/404 Rightarm 96 SinusRhythm 18. 99  RoomAir “" 7 15 “Semi-Fowlers:
Date Printed: 01/23/2024 10:30 ftam #: 01-A-4214-24

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ttem #:_ 01-A-4214-24

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UNIVERSITY MEDICAL
CENTER - NO

2000 Canal St

New Orleans LA 70112-3018

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Filed 01/09/25
Boyd, Winston Bruce

Medications
PTA Crew Medication Route Dosage Response Medication Compli ication
iNo #38:45° ‘Happel, Matthew Normal saline “iItravenous (IV) 10 Milliliters(ml)_ Unchanged." None
Procedures
‘ Size oF Procedure
Time Crew: Name Locati quip At Al P s Cc
‘01/22/2024 ° azier; Joseph Wourid Care- "Oe 8. 5x8 Kling + 9° ~  Unchange Yes,”
222606 | __: Géné L once e® ae . oo oo
01/22/2024 ” Happel, Vv, Extremity Hand 20 1 Unchange Yes
22:38:45 Matthew . Left 4 .
Anitial:Rhythm - oe Unchahge Yes Import Event:
8 to d | - ‘Leads'On' - '

Medical Devices
Medical Device Event nt Type

Medical Device Name

“Power On
ECG-Monitor

re orc Eee

SS ent

;, , HP3237 (40987461),
LP-3237 (40987461)

01/22/2024 22:35:45
Detailed Findings
Location _ Description _ Details
"1" Reactive : .
* Reactive .

Reactive
Shoulder
p Abdomen, ~ - 2 :
Upper Leg
Leg-Upper-Left: Puncture/Stab Wound

Pain

. Tenderness

Bleeding Controitled

Upper Arm

bEtbow ¢

Forearm

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eae sat | CENTER - NO Sex: M
LCMC Heath 2000 Canal St ,

New Orleans LA 7014 12- 3018

New Orleans EMS
Item #: 01-A-4214-24

| Wrist . -

Hand
Hand-Palm-Left: Puncture/Stab Wound

ain
Bleeding Controlled

Normal Findings

Head: Face; Eye ();: Neck: Shoulder (Shoulder- -Laft, Shoulda: “Rig
nb Left ‘Upper Quidrant, 'Periumbilical, Ri wer rant Right
‘Lower'Leg, (Léa-ko ;

mi
Wrist (Wrist!
(liidéx)-Right, Fingé
Finger ~5th Gmalle

Forearm (Forearm-Left, Foreari
ind (index)-Left;,
Finges-Bth i(Smalles

er-ath. (Ring)-Left, Fing x

nt) ;
ate sate, Fiigeriard (Middle}-Right,.
alm-Right, Thumb: af

)- Rant Hand-Dorsal-beft, Hand- Dorsal:Righ

4 he Mteral)s .
ntérior, Left - Posterior; iahe- “Anterior, RIght-- Posterior, General - want ior, Géneral - PosterloriLeft~ Side, Right - Side}:

Not Done

Hip: {Hip-Left, Hip- 3 ght) tb);
fsal-Left, Foot-Dorsal-Rig! ht, Foot: Plantar-Left, Foot -plantarRight, Toe-1st.(Big)-Left, Toe-15t. tei ight, Toe-2nd-Left, ‘oe
3 src Lett; Toe-Srd-Right, Yoe-4th-Left, Toe-4th-Right; Toe-Sth (Smiallest)-Left, Toe-Sth(Smallest Right):;: wl

re cee

Trauma Center Penetrating
Criteria: injuries to

head, neck,
torso, and
extremities
proximal to
elbow or
knee

Cause of Injury: Contact with
dog

Timeli Type Details Crew Member
101/22 : “'PSAP Call Se ms Mo
01/22/2024 24: 158: 34 Dispatch Notified
01/22/2024 22:23:15 ‘Unit Notified byDispatch «

01/22/2024 355 Unit En Route
01/22/2024. * ‘Wound Care - General. ‘Sizes 5x9,kling No. of Attémpts: 1 Frazier, Joseph
‘Unchanged 3 Yes —

04/22/2024 '22:38:45

Date Printed: 01/23/2024 10:30

04/22/2024 ; : Unit Arrived on Scene .
'01/22/2024 22 Arrived at Patient :
01/22/2024 22: 35:45 Exam Happel, Matthew
01/22/2024 22 * Med Device Happei, Matthew,
01/22/2024 22:38: AS W, Extremity Size: 20 No, of Attempts: 7 Happel, Matthew
Unchanged § 3 Yes .
Normal saline Dosage: 10 Milliliters {ml}: Rowite: | Happel, Matthew

Intravenous (1) Response: Unchanged

PTA: N6. |

Tkem #: 01-A-4214-24

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UNIVERSITY MEDICAL
CENTER - NO

2000 Canal St

New Orleans LA £01 12- 3018

New Orleans EMS

Tkem #: 01-4-4214-24
01/22/2024 22:40:07 Med Device

‘gu/az/z028

BP: 147/96 Method of BP: Automated
NIBP Limb: Right Arm Pulse: 87 Pulse
Rate Method: Cardiac Monitor Cardiac
Rhythm: Sinus Rhythm Resp: 78
Effort: Normal SPO2: 98 SPO2 Qual:
Room Air GCS Eye: Opens Eyes
spontaneously GCS Verbal: Oriented
Coos, Babbles} GCS Motor: Obeys ,

c ds {Si Ps)

GCS Total: 75 Pain: 7 Mean Artertal
Pressure: 173 Pain Scale Type:
Numeric (0-70) RTS: 12 Patient
Position: Semi-Fowlers __

BP: 135/97 Method of BP: Automated
NiBP Limb: Right Arm Pulse: 97 Pulse
Rate Method: Cardiac Monitor Cardiac
Rhythm: Sinus RAythm Resp: 18
Effort: Normal SPO2: 99 SPOZ Qual:
Room Air GCS Eye: Opens Eyes
spontaneously GCS‘Verbal: Oriented
{Coos, Babbles} GCS Motor: Obeys _

101/22
"01/22/2024 22:45:38 Vitals

aenanae % Pain: 7 Mean Arterial
Pressure: 109 Pain Seale Type:
Numeric (0-10) RTS: 72 Patient
Position: Semi-Fowlers:
Type: Patient*Reasont “HIPAA -
* Ack / Billing:Rel
Pati : (Receipt) ‘S!
Signed Name: Boyd Winston |
8p: 140/104 Method of BP: Automated
NIBP Limb: Right Arm Pulse: 96 Pulse
Rate Method: Cardiac Monitor Cardiac
Rhythm: Sinus Rhythm Resp: 18
Effort: Normal SPO2: 99 SPO2 Quak
Room Air GCS Eye: Opens Eyes
spontaneously GCS Verbal: Oriented
{Coos, Babbles} GCS Mator: Obeys ,
‘ anh se

Rol

01/22/2024 22:50:33 Vitals

GCS Total: 75 Pain: 7 Mean Arterial
Pressure: 716 Pain Scale Type:
Numeric (0-10) RTS: 12 Patient
Position: Semi Fowlers _

Type: EMS Crew Member Completing
Report Reason: Member Completing
Report Status: Signed Name: Mahesh,
Abhinav

estination Patient Transfer of
Care
nits Back in: Service 1

Last Seen Normal: Unable to
Complete

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Boyd, Winston Bruce

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Sex:

Happel, Matthew
Happel Mattie .

° Happel, Matthew

Happel, Matthew

Happel, Matthew

Mahesh, Abhinav

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UNIVERSITY MEDICAL Boyd, Winston Bruce
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CENTER - NO
2000 Canal St
New Orleans LA

Sex: M

New Orleans EMS

Item #: 01-A-4214-24

Nacrativer 43258 d/p ona response, backing up 6215 For the dog bite. U/a found pt seated in a chair, catox4, PWD, stating ¢/o 6/10 pain to
his L thigh. Pt states that he was relaxing in his garage smoking a cigar, dozing off, when he was bitten by an NOPD dog. Pt
states that he suffered bites to his L thigh and a wound to his L hand, denying any Further ¢/o pain or discomfort. 6215 reports
that the pt has penetrating injuries to-his L thigh, noting one of the puncture wounds to have a small amount of adipose tissue
hanging out. 6215 applied a bandage. Pt to be transported to the UMC ED as a Trauma Activation due to penetrating trauma
proximal to the knee. Noted all bleeding to be controlled at thls time. Pt transferred to stretcher via assisted stand and pivot,
secured full straps and rails, Pt placed on the monitor noting NSR w/no ectopy. Further vitals obtained as noted w/meds, hx,
and allergies. IV initiated 20G L hand, En route pt monitored as noted and Trauma Activation catled inte receiving Facility,
requesting they meet EMS at the door, Pt transported w/o complication, U/a provided facility staff w/report and facility staff
deactivated at the door. Pt transferred into bed in EMS via side by side’transfer, into the care of Facility staff. Cleared, in
service. MJH.

EP Evite

Is the patient 18 Yes
‘YEARS OF AGE or
emancipated:

Pern mart Tic ia riser cs eae

EMS Transport Ambulance
Method:

Patient Moved to Stretcher
Ambulance:
Patient's Position in Semi-Fowlers
Transport:

Patient Moved From Stretcher
Ambulance:

Pe se CL a ee

ftem Number: 01-A-4214-24 Call Sign: A3258 Veh. #: A3258 Type of Service 911
Requested: Response
Item Disposition: Patlent Destination; University Bed #: Bedin EMS
Transported Medical triage
Center
Unit Disposition; Patient Patient Patient Crew Disposition: Initiated and Transport Transport by
Contact Evaluation/Care: Evaluated Continued Disposition: This EMS Unit
Made and Care Primary Care
Provided
Transport Priocity: Code 2 Number of Patients 1 Final Patient Acuity: Emergent Alerts: Trauma
Transported in this Activation
Unit:
Level of Care ALS- Reason for Choosing Patient's Hospital Capability: General ER
Provided per Paramedic Destination: Choice Services
Protocol:

PACT Airway Study No
Candidate:

Bariatric Fea: No

Wall Time: None

item Number: 01-A-4214-24 Call Type: Traumatic injury
Response: $11 Response Resp. Mode: Code 2
Location: Residence vs First EMS Unit on Yes Number of Patients Single
Scene: at Seene:
tnecident Address: 3030 HAMILTON ST Mass Casualty No
NEW ORLEANS, LA 70118 Incident:

EMD Card Number: 30A01

PCR Number: 744f4fazefbe
4fe09b3Fc81
5F17d5418

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e UNIVERSITY MEDICAL Boyd, Winston Bruce
hs Em ome CENTER - NO
LCMC Health * 2000 Canal St
New Orleans LA 704 12-3018

GE

Sex: M

New Orleans EMS

Bd ee Bec e

Role

tae Supervisor’ ~
Secondary Patient Caregiver
Primary Patient Caregiver’ ~
Secondary Patient Caregiver

ent, New-Orleans .
ew. Fe

En
PSAP: 01/22/2024 Type of Response None/No Delay
21:58:34 Delay:
Disp. Notified: 01/22/2024
21:58:34 :
Unit Disps 01/22/2024 Type of Scene Delay: None/No Delay
22:23:19

Enroute: 01/22/2024
22:23:55

At Scene: 01/22/2024 Type of Transport None/No Delay
22:32:06 Delay:
At Patient: 01/22/2024
22:33:45
Depart: 01/22/2024 Type of Turn-Around ED Overcrowding / Transfer of Care
22:41:45 Delay:
Arrive Dest: 01/22/2024
22:51:04
ED Registration: 01/22/2024 En Route Odom: 40.7
231602
Stretcher Clear: 01/22/2024 Scene Odom: 44.8
23:27:00
Available: 01/22/2024 Dest. Odom: 483
23:35:00

Loaded Mileage: 3.5

AT hresigssy

Type of Person Signing: Patient
Signature HIPAA Ack led: it/ Billing Rel Patient Belongi (Receipt)

Paragraph Text:

I authorize any holder of medical or ather information about me to release to the Social Security Administration or its intermediaries or carriers of
any other government agency or insurance carrier responsible for payment any information needed for this related Medicare or other claim, now, in
the Future or in the past. | permit a copy of this authorization to be used in place of the original and request payment of medical insurance benefits
to the service provider.

City of New Orleans

THIS NOTICE DESCRIBES HOW MEDICAL. INFORMATION ABOUT YOU MAY BE USED AND DISCLOSED AND HOW YOU CAN GET ACCESS TO THIS
INFORMATION. PLEASE REVIEW IT CAREFULLY,

This Notice of Privacy Practices (“Notice”) describes the legal duties of City of New Orleans (“Provider,” “we,” “us,” or "our") and your legal rights
regarding your protected health information ("PHI") in accordance with the Health Insurance Portability and Accountability Act of 1996, as amended
(‘HIPAA’).

Provider Responsibilities, The Provider is required by law to:

* Maintain the privacy of your PHI;

+ Provide you with certain rights with respect to your PHI;

- Provide you with.a copy of this Notice of our legal duties and privacy practices with respect to your PHI; and
« Follow the terms of the Notice that is currently in effect.

Uses and Disclosures of PHI. The Provider may use or disclase PHI for the purposes of treatment, payment, and health care operations without your
written permission, in most cases, Examples of our use or disclosure of your PHI include the following:

For Treatment. This includes such things as obtaining verbal and written information about your medical condition and treatment from you, as well as
from others, such as doctors and nurses who give orders to allow us to provide treatment to you, We may give your PHI to other health care
providers involved in your treatment, and may transfer your PHI via radio or telephone to the hospital or dispatch center,

For Payment. This includes any activities we must undertake in order to get reimbursed for the services we provide to you, including such things as

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~haem ii. ab. CENTER - NO
LCMC Health 2000 Canal St
New Orleans LA 70112-3018
IMCNO EMERG

Sex: M

Documents

New Orleans EMS

Ikemv#: 01-A-4214-24
submitting bills to insurance companies, making medical necessity determinations, and collecting outstanding accounts,

For Health Care Operations. This includes quality assurance activities, licensing, and training programs to ensure that our personnel meet our
standards of care and follow established policies and procedures, as well as certain other management functions. Reminders For Scheduled
Transports and Information on Other Services. We may also contact you to provide you with a reminder of any scheduled-appointments far non-
emergency ambulance and medical transportation, or to provide information about other services we provide.

Use and Disclosure of PHI Without Your Authorization. The Provider is permitted to use or disclose PHI without your written authorization, or
opportunity to object, in certain situations, and unless prohibited by a more stringent state law, including:

» For the treatment, payment, or health care operations activities of another health care provider who treats you;

» For health care and legal compliance activittes;

*To business associates that perform various Functions on our behalf or to provide certain types of services;

»To a family member, other relative, close personal friend, or other individual involved in your care if we obtain your verbal agreement to do so or iF
we give you an opportunity to object to such a disclosure and you do net raise an objection, and in certain other circumstances where we are unable
to abtain your agreement and believe the disclosure is in your best interests;

» To a public health authority in certain situations, as required by law (such as to report abuse, neglect, or domestic violence);

+ For health oversight activities, including audits or government investigations, inspections, disciplinary proc di and other administrative or
judicial actions undertaken by the government (or its contractors) by law to oversee the health care system;

+ For judicial and administrative proceedings, as required by a court or administrative order, or in some cases in response to a subpoena or other legal
process;

+ For law enforcement activities in limited situations, such as when responding ta a warrant;

» For military, national defense and security, and other special government Functions;

«To avert a serious threat to the health and safety of a person or the public at large;

+ For workers’ compensation purposes, and in compliance with workers’ compensation laws;

*To coroners, medical examiners, and funeral directors for identifying a deceased person, determining cause of death, or as necessary to carry out
their duties, as authorized by law;

* IF you are an organ donor, to an organization that handles organ procurement or organ, eye, or tissue transplantation, or to an organ donation bank,
as necessary to facilitate organ donation and transplantation;

+ For research projects, but this will be subject te strict oversight and approvals; and

+ {na manner that does not personally identify you or reveal who you are.

Use and Disclosure of PHI With Your Authorization. Other uses or disclosures of your PHI not described above will only be made with your written
authorization. For example, in general and subject to specific conditions, we will not use or disclose your psychiatric notes, we will not use or disclose
your PHI for marketing; and we will nat sell your PHI, unless you give us a written authorization, You may revoke written authorizations at any time, so
long as the revocation is in writing. Once we receive your written revocation, it will only be effective for Future uses and disclosures. (t will not be
effective For any PHI that may have been used or disclosed in reliance upon the written authorization and prior to receiving your written revocation.
Patient Rights, As a patient, you have a number of rights with respect ta your PHI, including:

The Right to Access, Copy, or Inspect Your PHI. You have the right to inspect and copy certain types of your PHI. We will generally provide you with
access to this PHI within 30 days of your request. If the PHI you request is maintained electronically, and you request an electronic copy, we will
provide a copy in the electronic format you request if the PHI can be readily produced in that format. [f the PHI cannot be readily produced in that
format, we will work with you te come to an agreement on format. If we cannot agree on an electronic format, we will provide you with a paper copy.
To inspect and copy your PHI, please contact our Privacy Officer (as set Forth below). If you request a copy of the PHI, we may charge a reasonable
Fee for you to copy any PHI that you have the right to access. We may deny your request to inspect and copy your PHI in certain limited
circumstances, if you are denied access to your PHI, we will provide a written denial, and you may request that the denial be reviewed by submitting a
written request to our Privacy Officer.

The Right to Receive Confidential Communications. You have the right to request that we communicate with you about medical matters in a certain
way or at a certain location. For example, you can ask that we only contact you at work of by mail. To request confidential communications, please
contact our Privacy Officer. Your request must specify how or where you wish to be contacted. We will accommodate all reasonable requests.

The Right to Amend Your PHI. You have the right to ask us to amend PH! that we may have about you. We will generally amend your PHI within 60 days
of your request and will notify you when we have amended the PHI. We are permitted by law to deny your request ta amend your PHI only in certain
circumstances, like when we believe the PHI you have asked us to amend Is correct. If you wish ta request that we amend the PHI that we have about
you, please contact our Privacy Officer.

The Right to Request an Accounting. You may request an accounting From us of certain disclosures of your PHI that we have made in the six years
prior to the date of your request. We are not required to give you an accounting of uses or disclosures for purposes of treatment, payment, or health
care operations, ar when we share your PH! with our business associates, such as our billing company ora medical facility From/to which we have
transported you. We are also not required to give you an accounting of our uses and disclosures of PHI for which you have given us written
authorization. If you wish to request an accounting, please contact our Privacy Officer.

The Right to Request that We Restrict the Uses and Disclosures of Your PHI. You have the right to request that we restrict how we use and disclose
your PHI. Except as provided below, the Provider is not required to agree to any restrictions you request. However, any restrictions agreed to by the
Provider in writing are binding on the Provider, We will comply with any restriction request if (1) except as otherwise required by law, the disclosure is
to a health plan for purposes of carrying out payment or health care operations (and is not for purposes of carrying out treatment), and (2) the PHI
pertains solely to a health care item or service for which the health care provider involved has been paid in full by yout or another person. To request
restrictions, please contact our Privacy Officer.

‘The Right to Be Notified of a Breach. You have the right to be notified in the event that we (ora business associate) discover a breach of unsecured
PHI.

Other Applicable Laws. HIPAA generally does not preempt other laws that give individuals greater privacy protections. Therefore, if any state or
federal privacy law requires us to provide you with more privacy protections, then we will also follow that law in addition to HIPAA.

Internet, Electronic Mail, and the Right to Obtain Copy of Paper Notice on Request. If we maintain a web site, we will prominently post a copy of this
Notice on our web site. If you allow us, we will forward you this Notice by electronic mail instead of on paper and you may always request a paper copy
of the Notice.

Ravisions to the Notice. The Provider reserves the right to change the terms of this Notice at any time, and the changes will be effective

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LCMC Health G7  Sansr.nc

New Orleans LA 7

Sex: M

0112-3018
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New Crleans EMS

Item #: 01-A-4214-24
Immediately and will apply to all PHI that we maintain. Any material changes to the Notice will be promptly posted in our Facilities and posted te our
web site, if we maintain one, You can get a copy of the latest version of this Notice by contacting our Privacy Officer.

Your Legal Rights and Complaints. You also have the right to complain to us or to the Secretary of the United States Department of Health and
Human Services (“Secretary”) if you believe your privacy rights have been violated. You will not be retaliated against In any way for filing a complaint
with ws or the Secretary. To file a complaint with the Provider, or if you have any questions or comments regarding this Notice, please contact our
Privacy Officer. Please note that all complaints filed with the Provider must be submitted in writing.

Privacy Officer Contact Information:
Privacy Officer

New Orleans Emergency Medical Services
2929 Earhart Blvd.

New Orleans, LA 70125

Phone: 504-658-2929

Fax: 504-658-2739

Effective Date of the Notice: January 6, 2016

By signing below, | agree that | am in possession of ali belongings that | brought with me to the Emergency Department.

-Status: Signed

Signature Graphic:

Printed Name; Winston Boyd
Signature Date: 01/22/2024 22:50:16

Type of Person Signing: EMS Crew Member Completing Report
Signature Reason: Member Completing Report

Paragraph Text: | acknowledge that | have provided the above assessments/treatments For this patient.

Status: Signed

Signature Graphic:

Printed:Name: Abhinav Mahesh
Signature Date: 01/22/2024 23:03:34
y

Type of Person Signing: Nurse
Signature Reason: Transfer of Patient Care

Paragraph Text: | acknowledge that the above patient was transferred to my care.

Status: Signed

Signature Graphic:

Date Printed: 01/23/2024 10:30 Item #: 01-A-4214-24

Printed on 2/18/24 10:12 AM Page 102
Case 2:25-cv-00080-BWA-MBN Document1-9 Filed 01/09/25 Page 106 of 107

e UNIVERSITY MEDICAL Boyd, Winston Bruce
LCMC Health *

CENTER - NO Sex: M

2000 Canal St

New Orleans LA 70112-301
UMCNO EMER

New Orleans EMS

Item #: 01-A-4214-24

Printed Name: Frank Schiavi
Signature Date: 01/22/2024 23:21:15

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Time: 01/22/2024 22:38:39
File Name: Physio_ 20240122223839.ong
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Time: 01/22/2024 22:40:07

File Name: Physio_20240122224007.pnq
Name: Initial Rhythm 10:40:07 PM | Sp02-PR _

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Patient ID: SpMet -

Age: Sex:

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Printed on 2/18/24 10:12 AM Page 103
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Case 2:25-cv-00080-BWA-MBN Document1-9 Filed 01/09/25 Page 107 of 107
New Orleans LA 701 12-3018

UNIVERSITY MEDICAL Boyd, Winston Bruce
m. ' :

CENTER - NO
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New Orleans EMS

Item # 01-A-4214-24
Time: 01/22/2024 22:40:50
Fite Name: Physio _20240122224050.pnq
10:40:48 PM 10:40:50 PM 10:40:52 PM

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Time: 01/22/2024 22:45:38
File Name: Physio _20240122224538.pnq
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Time: 01/22/2024 22:50:33
File Name: Physio _20240122225033.png

10:50:37 PM

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Date Printed: 01/23/2024-10:30 Item #: 01-A-4214-24

Printed on 2/18/24 10:12 AM Page 104
